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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   JOSEPH PIGNATELLI, Individually and on             Case No:
   behalf of all others similarly situated,
                                                      CLASS ACTION COMPLAINT FOR
          Plaintiff,                                  VIOLATIONS OF THE FEDERAL
                                                      SECURITIES LAWS
          v.
                                                      JURY TRIAL DEMANDED
   MSP RECOVERY, INC. F/K/A LIONHEART
   ACQUISITION CORP. II, JOHN H. RUIZ,
   CALVIN HAMSTRA, RICARDO RIVERA,
   OPHIR STERNBERG, JAMES ANDERSON,
   THOMAS BYRNE, THOMAS HAWKINS,
   ROGER MELTZER, ALEXANDRA
   PLASENCIA, FRANK C. QUESADA,
   BEATRIZ ASSAPIMONWAIT, and
   MICHAEL F. ARRIGO,

          Defendants.



         Plaintiff Joseph Pignatelli (“Plaintiff”), individually and on behalf of all other persons

  similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

  Defendants (defined below), alleges the following based upon personal knowledge as to

  Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters, based upon,

  among other things, the investigation conducted by and through his attorneys, which included,

  among other things, a review of the Defendants’ public documents, public filings, wire and

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  press releases published by and regarding MSP Recovery, Inc. f/k/a Lionheart Acquisition Corp.

  II. (“MSP Recovery” or the “Company”), and information readily obtainable on the Internet.

  Plaintiff believes that substantial evidentiary support will exist for the allegations set forth

  herein after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

         1.      This is a class action on behalf of persons or entities other than Defendants
  (defined below) who (1) purchased or otherwise acquired publicly traded MSP Recovery f/k/a
  Lionheart Acquisition Corp. II (“Lionheart”) securities between April 28, 2022 and August 17,
  2023, inclusive (the “Class Period”), seeking to recover compensable damages caused by
  Defendants’ violations of the federal securities laws and to pursue remedies under Sections
  10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5
  promulgated thereunder; (2) all persons or entities who held Lionheart common stock eligible to
  vote at Lionheart’s May 18, 2022 special meeting, seeking to pursue remedies under Section
  14(a) of the Exchange Act; and (3) all persons who purchased or otherwise acquired MSP
  Recovery securities pursuant and/or traceable to the Company’s registration statement filed with
  the SEC on July 1, 2022, as amended on July 21, 2022 and declared effective on August 5, 2022
  (the “Registration Statement”), seeking to pursue remedies under Sections 11 and 15 of the
  Securities Act of 1933 (the “Securities Act”).
                                 JURISDICTION AND VENUE

         2.      The claims asserted herein arise under and pursuant to Sections 11 and 15 of the
  Securities Act, 15 U.S.C. §§ 77K and 77o, Sections 10(b) and 20(a) of the Exchange Act (15
  U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. §
  240.10b-5), and Section 14(a) of the Exchange Act (15 U.S.C. § 78n(a) and Rule 14a-9
  promulgated thereunder (17 C.F.R. § 240.14a-9).
         3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

  28 U.S.C. § 1331, as well as Section 22 of the Securities Act and Section 27 of the Exchange

  Act (15 U.S.C. §78aa).

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         4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and

  Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged misstatements entered and

  the subsequent damages took place in this judicial district.

         5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

  Defendants (defined below), directly or indirectly, used the means and instrumentalities of

  interstate commerce, including but not limited to, the United States mails, interstate telephone

  communications and the facilities of the national securities exchange.

                                              PARTIES

         6.      Plaintiff, as set forth in the accompanying certification, incorporated by reference

  herein, purchased MSP Recovery securities during the Class Period and was economically

  damaged thereby.

         7.      Defendant MSP Recovery commonly does business under the name “LifeWallet”

  and describes itself as a “leading data analytics company specializing in healthcare Claims

  recovery. Our Assignors are healthcare providers and payers (the “Assignors”) that have

  irrevocably assigned to us their recovery rights associated with certain healthcare Claims. We

  obtain Claims data from the Assignors and leverage our data analytics capabilities using our

  Claims recovery platform to identify payments that were improperly paid by our Assignors. We

  then seek the full recoverable amount from those parties who, under applicable law or contract,

  were responsible for payment (or reimbursement). [. . .]”

         8.      MSP Recovery is incorporated in Delaware and its head office is located at 2710

  Le Jeune Road, Floor 10, Coral Gables, Florida 33134. MSP Recovery’s common stock trades

  on the NASDAQ exchange (“Nasdaq”) under the ticker symbol “LIFW”.




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         9.     Defendant John H. Ruiz (“Ruiz”) has served as the Company’s Chief Executive

  Officer (“CEO”) since it went public through a merger with Lionheart Acquisition Corp. II, a

  special purpose acquisition company, or “SPAC”.

         10.    Defendant Calvin Hamstra was the Company’s Chief Financial Officer (“CFO”)

  from June 24, 2022 until his resignation on June 28, 2023.

         11.    Defendant Ricardo Rivera (“Rivera”) has served as the Company’s Interim CFO

  since June 29, 2023 and was previously the Company’s Chief Operating Officer (“COO”).

         12.    Defendants Ruiz, Hamstra, Rivera are referred to herein as the “10(b)

  Defendants” or the “Individual Defendants”.

         13.    Each of the Individual Defendants:

                (a)     directly participated in the management of the Company;

                (b)     was directly involved in the day-to-day operations of the Company at the

                        highest levels;

                (c)     was privy to confidential proprietary information concerning the

                        Company and its business and operations;

                (d)     was directly or indirectly involved in drafting, producing, reviewing

                        and/or disseminating the false and misleading statements and information

                        alleged herein;

                (e)     was directly or indirectly involved in the oversight or implementation of

                        the Company’s internal controls;

                (f)     was aware of or recklessly disregarded the fact that the false and

                        misleading statements were being issued concerning the Company;

                        and/or



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                (g)      approved or ratified these statements in violation of the federal securities

                         laws.

         14.    MSP Recovery is liable for the acts of the Individual Defendants and its

  employees under the doctrine of respondeat superior and common law principles of agency

  because all of the wrongful acts complained of herein were carried out within the scope of their

  employment.

         15.    The scienter of the Individual Defendants and other employees and agents of the

  Company is similarly imputed to MSP Recovery under respondeat superior and agency

  principles.

         16.    Defendant Ophir Sternberg (“Sternberg”) was the Chief Executive Officer,

  President, and Chairman of the Board of Directors of Lionheart at the time of the Proxy

  statement.

         17.    Defendant James Anderson (“Anderson”) was a Lionheart Director at the time of

  the Proxy statement.

         18.    Defendant Thomas Byrne (“Byrne”) was a Lionheart Director at the time of the

  Proxy statement.

         19.    Defendant Thomas Hawkins (“Hawkins”) was a Lionheart Director at the time of

  the Proxy statement.

         20.    Defendant Roger Meltzer (“Meltzer”) was a Lionheart Director at the time of the

  Proxy Statement.

         21.    Defendants Sternberg, Anderson, Byrne, Hawkins, and Meltzer (collectively, the

  “Director Defendants”), participated in Board meetings and conference calls, voted to approve

  the merger, signed and/or authorized the signing of the Proxy, approved the Proxy, solicited



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  approval of the merger through the Board’s recommendation that Lionheart shareholders vote in

  favor the merger with MSP Recovery, which appeared in the Proxy, and permitted the use of

  their names in connection with the solicitation of proxies from the shareholders. In their

  capacities as signatories of documents set forth below, as well as by virtue of their authority to

  approve the merger, the Director Defendants possessed the power and authority to control the

  contents of the Proxy, as well as Lionheart’s and the Company’s press releases, investor and

  media presentations, and other SEC filings.

         22.      The Registration Statement was signed by John H. Ruiz, Calvin Hamstra,

  Ricardo Rivera, Frank C. Quesada, Alexandra Plasencia, Ophir Sternberg, Roger Meltzer,

  Beatriz Assapimonwait, Michael F. Arrigo, and Thomas Hawkins (collectively, the “Section 11

  Defendants”).

         23.      Defendant Ruiz signed the Registration Statement in his capacity as the

  Company’s CEO and as a Company Director.

         24.      Defendant Hamstra signed the Registration Statement in his capacity as the

  Company’s CFO.

         25.      Defendant Rivera signed the Registration Statement in his capacity as the

  Company’s Chief Operating Officer

         26.      Defendant Frank C. Quesada (“Quesada”) signed the Registration Statement in

  his capacity as the Company’s Chief Legal Officer and as a Company Director.

         27.      Defendant Alexandra Plasencia (“Plasencia”) signed the Registration Statement

  in her capacity as the Company’s General Counsel.

         28.      Defendant Sternberg signed the Registration Statement in his capacity as

  Company Director.



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           29.    Defendant Meltzer signed the Registration Statement in his capacity as a

  Company Director.

           30.    Defendant Beatriz Assapimonwait (“Assapimonwait”) signed the Registration

  Statement in her capacity as a Company Director.

           31.    Defendant Michael F. Arrigo (“Arrigo”) signed the Registration Statement in her

  capacity as a Company Director.

           32.    Defendant Hawkins signed the Registration Statement in his capacity as a

  Company Director.

           33.    The Company, the 10(b) Defendants, the Section 11 Defendants, and the Director

  Defendants are referred to, herein, collectively, as the “Defendants”.

                                 SUBSTANTIVE ALLEGATIONS
                                  Materially False and Misleading
                             Statements Issued During the Class Period
           34.    On May 3, 2022, Lionheart Acquisition Corp. II filed with the SEC its definitive

  proxy on Form 424B3 (the “Proxy”) to solicit votes for its May 18, 2022 Special Meeting to

  approve the planned merger with the then-private MSP Recovery, Inc. (“Legacy MSP”),

  whereby Legacy MSP would become a publicly-traded entity through its merger with Lionheart.

           35.    The Proxy materially understated the substantial risks of merging with Legacy

  MSP, which is apparent from the dramatic decline of the post-merger MSP Recovery’s stock

  price.

           36.    The Proxy contained the following risk disclosure on the uncertainties of Legacy

  MSP’s business model:

           We have a history of net losses and no substantial revenue to date, and we may not
           achieve recoveries, generate significant revenue or achieve profitability. Our relatively
           limited operating history makes it difficult to evaluate our current business and future
           prospects and increases the risk of your investment.


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         Our relatively limited operating history makes it difficult to evaluate our current business
         and plan for our future growth. MSP Recovery started in 2014 with its very first
         assignment from a health plan in Miami, Florida. To date we have achieved no
         substantial revenue and limited actual recoveries from our assigned claims, and there is
         no guarantee that we will achieve recoveries, revenue and profitability as we have
         projected. We have encountered and will continue to encounter significant risks and
         uncertainties frequently experienced by new and growing companies in rapidly changing
         industries, such as determining appropriate investments for our limited resources,
         competition from other data analytics companies, acquiring and retaining Assignors,
         hiring, integrating, training and retaining skilled personnel, unforeseen expenses,
         challenges in forecasting accuracy and successfully integrating new strategies. If we are
         unable to achieve actual recoveries, increase our Assignor base, successfully manage our
         recovery efforts from third-party payers or successfully expand, our revenue and our
         ability to achieve and sustain profitability would be impaired. If our assumptions
         regarding these and other similar risks and uncertainties, which we use to plan our
         business, are incorrect or change as we gain more experience operating our business or
         due to changes in our industry, or if we do not address these challenges successfully, our
         operating and financial results could differ materially from our expectations and our
         business could suffer.

         37.    This statement was materially false and misleading because, at the time it was

  made, the Company was engaging in underhand business tactics with Cano Health, Inc. (“Cano

  Health”), which for a time sold Legacy and then post-Merger MSP health care claims to try and

  recover on. Specifically at issue is that Legacy and now-post Merger MSP has allegedly not paid

  Cano Health for the claims that Cano Health assigned to it, leading to Cano Health suing the

  Company.

         38.    The Proxy contained the following statement about risk of failure to recover on

  the assigned claims.

         Under most of our agreements with Assignors, we assume the risk of failure to recover
         on the assigned claims, and if we fail to make recoveries with respect to the assigned
         claims receivables and therefore, are unable to generate recovery proceeds greater than
         or equal to the amounts paid by us to purchase the assigned claims, it can adversely
         affect our business.

         In many instances, we pay our Assignors an upfront purchase price for assignment of
         their healthcare claims recoveries. Accordingly, there is a risk that we may not
         successfully recapture the upfront purchase price if we fail to make recoveries with
         respect to the assigned claims. If we fail to generate significant recovery proceeds with

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          respect to the assigned claims, it would have an adverse effect on our profitability and
          business.

          39.     This statement was materially false and misleading because in addition to bearing

  the risk of not winning in a litigation on a claim sold to the Company by the assignor (with Cano

  Health being a major assignor that the pre and post-Merger Company depended on), it was also

  exposed to significant litigation risk as a result of its failure to pay its assignors.

          40.     The Proxy contained the following risk disclosure on the validity of its

  assignments:

          Our assignments can be deemed invalid in court which could adversely affect our
          recoveries and our business.
          We typically receive assignments of healthcare claims recoveries from our Assignors via
          irrevocable assignments. Accordingly, we are able to pursue those claims that our
          Assignors originally owned. Enforceability of our assignment agreements are often
          challenged by defendants in court. If a court determines that an assignment agreement is
          invalid (whether due to a technical deficiency or regulatory prohibition or otherwise), we
          will lose the ability to pursue those claims. This can adversely affect our recovery efforts
          and our business.

          41.     This statement was materially false and misleading because it did not disclose that

  there may be a heightened risk of an assignment being deemed invalid as a result of MSP

  Recovery’s failure to properly pay assignors.

          42.     The Proxy contained the following risk disclosure of assignors choosing to pursue

  recovery on claims directly, or turning to MSP Recovery’s competitors.

          Assignors may pursue recovery on claims directly or may use recovery agents other
          than us in connection with the Assignor’s efforts to recover on claims.

          With respect to the Assignors of the assigned claims, some of our agreements exclude
          from the assignment of claims those claims that are assigned to or being pursued by other
          recovery vendors of the Assignor at the time of the assignment. We have identified
          instances where the Assignor did not filter its data provided to us to account for such
          exclusions. This resulted in some claims being identified by us for purposes of our
          recovery estimates. This also has resulted in other recovery agents of the Assignor
          making collections on claims that we previously believed were assigned to us. Although
          we endeavor to seek appropriate clarification from Assignors to properly identify claims

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         that are being pursued by other recovery vendors, due to the nature and volume of data, it
         may not be possible to identify with precision all such claims. While we do not believe
         any overlap with other recovery vendors with respect to assigned claims to be material,
         there can be no assurance as to the ultimate impact on our recoveries or our business.

         43.     This statement was materially false and misleading because there was and is a

  heightened risk of assignors choosing to do business with recovery agents other than MSP

  Recovery as a result of its inability to pay assignors as agreed.

         44.     The Proxy contained the following statement:

         If our existing Assignors prematurely terminate their agreement with us or if either
         party materially breaches an agreement, and we can no longer receive future
         assignments of healthcare claims recoveries, it could have a material adverse effect on
         our business, financial condition and results of operations.
         We expect in the future to derive, a significant portion of our revenue from our existing
         Assignors and, accordingly, we are reliant on ongoing data transfers and the associated
         assignments of claims from existing Assignors. As a result, maintaining these
         relationships is critical to our future growth and our business, financial condition and
         results of operations. We may experience significantly more difficulty than we anticipate
         in maintaining our existing Assignor agreements. Factors that may affect our ability to
         continue providing our services under such agreements for our services and our ability to
         sell additional solutions include:
             • the price, performance and functionality of our solutions;
             • the availability, price, performance and functionality of competing solutions;
             • our Assignors’ perceived ability to review claims accurately using their internal
                 resources;
             • our ability to develop complementary solutions;
             • our continued ability to access the data necessary to enable us to effectively
                 develop and deliver new solutions to Assignors;
             • the stability and security of our platform;
             • changes in healthcare laws, regulations or trends; and
             • the business environment of our Assignors.
         Pursuant to the claims recovery and assignment agreements with our Assignors, the
         Assignors may choose to discontinue one or more services under an existing contract,
         may exercise flexibilities within their contracts to adjust service volumes, may breach or
         terminate the contract prior to its agreed upon completion date. A material breach by
         either party to the agreement may also result in the termination of receiving future claims.
         Any such occurrences could reduce our revenue from these Assignors. Although a
         cancellation or termination of a contract does not revoke the original assignment from our
         Assignors in many instances because such assignment was irrevocable, termination still
         affects future transfers of data and future assignment of claims. Accordingly, such
         cancellations or terminations can constrain our growth and result in a decrease in revenue
         which could have a material adverse effect on our business, financial condition and

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         results of operations.

         45.     This statement was materially false and misleading because the Company did not

  have the means to fulfil its contractual obligations to pay, among others, Cano Health, in full and

  on time.

         46.     The Proxy contained the following section on risks related to developing

  relationships with new assignors:

         If we are unable to develop new Assignor relationships, it could have a material
         adverse effect on our business, financial condition and results of operations.

         As part of our strategy, we seek to develop new Assignor relationships, principally
         among healthcare payers and providers. Our ability to develop new relationships depends
         on a variety of factors, including the quality and performance of our solutions, as well as
         the ability to market and sell our solutions effectively and differentiate ourselves from
         our competitors. We may not be successful in developing new Assignor relationships. If
         we are unable to develop new Assignor relationships, it could have a material adverse
         effect on our business, financial condition and results of operations.

         47.     This statement was materially false and misleading because Legacy and now post-

  Merger MSP is at a heightened risk of failing to develop new assignor relationships as a result of

  its failure to pay Cano Health, which eventually led to a lawsuit in Florida state court.

         48.     The Proxy contained the following risk disclosure regarding the Company’s

  relatively small number of assignors:

         A significant portion of our claims comes from a limited number of Assignors, and the
         loss of one or more of these Assignors could have a material adverse effect on our
         business, financial condition and results of operations.

         We have acquired a significant portion of our claims from and entered into agreements
         for new services with a limited number of large Assignors. These Assignors assign these
         claims with an irrevocable assignment from the Assignor to us (“assignment agreement”)
         each with different and/or staggered terms. In addition, we also rely on our reputation and
         recommendations from key Assignors to promote our solutions to potential new
         Assignors. Further, our ability to pursue a significant portion of our claims depends on
         our arrangements pursuant to which we are granted access to health care data, which may
         be terminated upon the occurrence of certain events. See “—We use various data sources
         in our business and if we lose access to those data sources it could have a material

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         adverse effect on our business, financial condition, and results of operations.”
         Accordingly, if any of these Assignors fail to renew or terminate their existing
         agreements with us, it could have a material adverse effect on our business, financial
         condition and results of operations.

         49.     This statement was materially false and misleading because, at the time it was

  made, the Company had already begun to deal in bad faith with Cano Health, resulting in a

  heightened risk of a loss of Cano Health as an assignor.

         50.     The Proxy contained the following section on litigation risk:

         We are currently party to and may in the future become party to additional litigation,
         regulatory, or other dispute resolution proceedings. Adverse judgments or settlements
         in any of these proceedings could have a material adverse effect on our business,
         financial condition and results of operations.

         We are currently party to may in the future become party to lawsuits and other claims
         against us that arise from time to time in the ordinary course of our business. These may
         include lawsuits and claims related to, for example, contracts, subcontracts, protection of
         confidential information or trade secrets, wage and benefits, employment of our
         workforce or compliance with any of a wide array of state and federal statutes, rules and
         regulations that pertain to different aspects of our business. We also may be required to
         initiate expensive litigation or other proceedings to protect our business interests. In
         addition, because of the payments we may receive from potential future government
         Assignors, we may become subject to unexpected inquiries, investigations, legal actions
         or enforcement proceedings pursuant to the False Claims Act, healthcare fraud, waste and
         abuse laws or similar legislation. Any investigations, settlements or adverse judgments
         stemming from such legal disputes or other claims may result in significant monetary
         damages or injunctive relief against us, as well as reputational injury that could adversely
         affect us. In addition, litigation and other legal claims are subject to inherent uncertainties
         and management’s view of currently pending legal matters may change in the future.
         Those uncertainties include, but are not limited to, costs of litigation, unpredictable
         judicial or jury decisions and the differing laws and judicial proclivities regarding
         damage awards among the states in which we operate. Unexpected outcomes in such
         legal proceedings, or changes in management’s evaluation or predictions of the likely
         outcomes of such proceedings (possibly resulting in changes in established reserves),
         could have a material adverse effect on our business, financial condition and results of
         operations.

         51.     This statement was materially false and misleading because the Company was at a

  heightened risk of litigation materially affecting its business as a result of its failure to deal in

  good faith with assignors, including Cano Health.

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         52.       The Proxy contained the following disclosure on Legacy MSP’s competition:

         We face significant competition and we expect competition to increase.

                Competition among providers of healthcare payment accuracy solutions to U.S.
         healthcare insurance companies is strong and we may encounter additional competition
         as new competitors enter this area.

                   Our current healthcare solutions competitors include:
               •   other payment accuracy vendors, including vendors focused on discrete aspects of
                   the healthcare payment accuracy process;
               •   fraud, waste and abuse claim edit and predictive analysis companies;
               •   primary claims processors;
               •   numerous regional utilization management companies;
               •   in-house payment accuracy capabilities;
               •   Medicare RACs; and
               •   healthcare consulting firms and other third-party liability service providers.

         We may not be able to compete successfully against existing or new competitors. In
         addition, we may be forced to increase the consideration we provide for assigned claims
         or lower our pricing, or the demand for our data-driven solutions may decrease as a
         result of increased competition. Further, a failure to be responsive to our existing and
         potential Assignors’ needs could hinder our ability to maintain or expand our Assignor
         base, hire and retain new employees, pursue new business opportunities, complete
         future acquisitions and operate our business effectively. Any inability to compete
         effectively could have a material adverse effect on our business, financial condition and
         results of operations.

         (Emphasis added).

         53.       This statement was materially false and misleading because it did not state that

  the post-Merger Company would have substantial difficulty paying a higher price for assigned

  claims, or that it was already unable to be “responsive to [existing Assignors’ needs]”,

  considering that it would not be able to pay Cano Health for the assigned claims.

         54.       The Proxy contained the following disclosure on risks involving the dominance of

  certain Directors:

         After completion of the Business Combination, we will be controlled by the Members,
         including John H. Ruiz and Frank C. Quesada, whose interests may conflict with our
         interests and the interests of other stockholders.


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         Upon completion of the Business Combination, assuming (1) the no redemption scenario
         and (2) that the holders of the Company’s existing Public Warrants and Private Warrants
         exercise those warrants, and no New Warrants are exercised, the Members (or their
         designees) will hold all of our issued and outstanding Class V Common Stock, which will
         control approximately 99.1% of the combined voting power of our common stock, and
         John H. Ruiz and Frank C. Quesada, as a group, will control approximately 92.58% of
         the combined voting power of our common stock. Such ownership percentage will be
         affected by the level of redemptions by Public Stockholders and the exercise of
         outstanding warrants or New Warrants. See “Summary— Ownership of the Post-
         Combination Company.” The Members will effectively have the ability to determine all
         corporate actions requiring stockholder approval, including the election and removal of
         directors, any amendment to our certificate of incorporation or bylaws, or the approval of
         any merger or other significant corporate transaction, including a sale of substantially all
         of our assets. This could have the effect of delaying or preventing a change in control or
         otherwise discouraging a potential acquirer from attempting to obtain control of the Post-
         Combination Company, which could cause the market price of our Class A Common
         Stock to decline or prevent stockholders from realizing a premium over the market price
         for Class A Common Stock. The Members interests may conflict with our interests as a
         company or the interests of our other stockholders.

         55.    This statement was materially false and misleading because it did not disclose that

  there was a heightened risk of member interests conflicting with those of everyday stockholders

  as a result of Defendant Ruiz being in effective control of the Company while also being the

  principal of MSP Recovery Aviation, LLC, as discussed below in paragraph 58.

         56.    The Proxy contained the following disclosure on MSP Recovery Aviation, LLC,

  an entity owned by Defendant Ruiz:

         Historically, MSP has been provided with aviation services pursuant to an Air
         Transportation Services Agreement, dated June 3, 2019, by and between MSP Recovery
         Aviation, LLC (“MSP Aviation”) and Series MRCS, a designated series of MDA Series,
         LLC, pursuant to which MSP Aviation agreed to provide Series MRCS and its affiliates
         with air transportation services via its private, non-commercial plane. In exchange for
         such services, Series MRCS agreed to reimburse MSP Aviation for aircraft rental and
         flight time along with related fees, expenses and taxes in accordance with a lease
         agreement for each flight. MSP Aviation is owned by John H. Ruiz.

         During the years ended December 31, 2021 and December 31, 2020, MSP Aviation was
         paid $179,000 and $705,000 for aviation services provided to the MSP Purchased
         Companies. During the years ended December 31, 2021 and December 31, 2020, MSP
         Aviation was paid $0 and $1.1 million, respectively, for aviation services provided to
         Series MRCS. Management of MSP intends to continue its relationship with MSP

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         Aviation under an informal arrangement that provides MSP and its representatives with
         economic terms that are at least no less favorable than the terms it would receive if it
         were to engage an unrelated third party to provide substantially similar services.

         57.     This statement was materially false and misleading because it did not disclose

  that, among other planes owned by MSP Recovery Aviation, LLC is a luxury Boeing 767 which

  was previously owned by the Australian airline Qantas. This same Boeing 767 has been

  represented by Defendant Ruiz in the media to be his personal aircraft, and has various luxury

  features. The Miami New Times even described it as a “luxury penthouse that can fly”, and as

  such, while the Proxy stated that MSP would have an arrangement that was on “economic terms

  that are at least no less favorable than the terms it would receive if it were to engage an unrelated

  third party to provide substantially similar services”, it did not state that by those services, it

  meant flights on a “luxury penthouse that can fly”.

         58.     On July 1, 2022, the Company filed with the SEC a Registration Statement (the

  “Registration Statement”) on Form S-1, which in combination with a subsequent amendment on

  Form S-1/A (the “Amended Registration Statement”) and filed pursuant to Rule 429 of the

  Securities Act, would be used for the offering of up to 755,200,000 warrants and up to

  1,032,578,731 shares of Class A Common Stock underlying warrants.

         59.     As mentioned, the Registration Statement was signed by Defendants Ruiz,

  Hamstra, Rivera, Quesada, Plasencia, Sternberg, Meltzer, Assapimonwait, Arrigo, and Hawkins,

  and was declared effective by the SEC on August 5, 2022.

         60.     The Registration Statement was negligently prepared and, as a result, contained

  untrue statements of material facts or omitted to state other facts necessary to make the

  statements made not misleading, and was not prepared in accordance with the rules and

  regulations governing its preparation.



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          61.     Under applicable SEC rules and regulations, the Registration Statement was

  required to disclose known trends, events or uncertainties that were having, and were reasonably

  likely to have, an impact on the Company’s continuing operations.

          62.     The Registration Statement contained the following statement on the Company’s

  history:

          We have a history of net losses and no substantial revenue to date, and we may not
          achieve recoveries, generate significant revenue or achieve profitability. Our relatively
          limited operating history makes it difficult to evaluate our current business and future
          prospects and increases the risk of your investment.

          Our relatively limited operating history makes it difficult to evaluate our current business
          and plan for our future growth. MSP Recovery started in 2014 with its very first
          assignment from a health plan in Miami, Florida. To date we have achieved no
          substantial revenue and limited actual recoveries from our assigned claims, and there is
          no guarantee that we will achieve recoveries, revenue and profitability as we have
          projected. We have encountered and will continue to encounter significant risks and
          uncertainties frequently experienced by new and growing companies in rapidly changing
          industries, such as determining appropriate investments for our limited resources,
          competition from other data analytics companies, acquiring and retaining Assignors,
          hiring, integrating, training and retaining skilled personnel, unforeseen expenses,
          challenges in forecasting accuracy and successfully integrating new strategies. If we are
          unable to achieve actual recoveries, increase our Assignor base, successfully manage our
          recovery efforts from third-party payers or successfully expand, our revenue and our
          ability to achieve and sustain profitability would be impaired. If our assumptions
          regarding these and other similar risks and uncertainties, which we use to plan our
          business, are incorrect or change as we gain more experience operating our business or
          due to changes in our industry, or if we do not address these challenges successfully, our
          operating and financial results could differ materially from our expectations and our
          business could suffer.

          (Emphasis added).

          63.     This statement was materially false and misleading because the Company was at a

  heightened risk of not being able to acquire or retain assignors or increase its assignor base as a

  result of its poor financial health.

          64.     The Registration Statement contained the following disclosure on assumption of

  risk:

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          Under most of our agreements with Assignors, we assume the risk of failure to recover
          on the assigned claims, and if we fail to make recoveries with respect to the assigned
          claims receivables and therefore, are unable to generate recovery proceeds greater than
          or equal to the amounts paid by us to purchase the assigned claims, it can adversely
          affect our business.

          In many instances, we pay our Assignors an upfront purchase price for assignment of
          their healthcare claims recoveries. Accordingly, there is a risk that we may not
          successfully recapture the upfront purchase price if we fail to make recoveries with
          respect to the assigned claims. If we fail to generate significant recovery proceeds with
          respect to the assigned claims, it would have an adverse effect on our profitability and
          business.

          65.    This statement was materially false and misleading because, as a result of issues

  with even paying the assignors in the first place, there was a substantial risk that assignors would

  sue the Company and seek to regain ownership of assigned claims. Further, litigation with

  assignors over disputed claims could also have an adverse effect on the Company’s profitability.

          66.    The Registration Statement contained the following disclosure on assignment

  validity:

          Our assignments can be deemed invalid in court which could adversely affect our
          recoveries and business.

          We typically receive assignments of healthcare claims recoveries from our Assignors via
          irrevocable assignments. Accordingly, we are able to pursue those claims that our
          Assignors originally owned. Enforceability of our assignment agreements are often
          challenged by defendants in court. If a court determines that an assignment agreement is
          invalid (whether due to a technical deficiency or regulatory prohibition or otherwise), we
          will lose the ability to pursue those claims. This can adversely affect our recovery efforts
          and our business.

          67.    The Company materially understated the risk of an assignment being deemed

  invalid, given that it did not and does not have the means to pay for its assignments, which could

  lead a court to deem the assignment invalid.

          68.    The Registration Statement contained the following disclosure on assignors

  opting to pursue claims directly or opting to use other recovery agents:



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          Assignors may pursue recovery on claims directly or may use recovery agents other
          than us in connection with the Assignor’s efforts to recover on claims.

          With respect to the Assignors of the assigned claims, some of our agreements exclude
          from the assignment of claims those claims that are assigned to or being pursued by other
          recovery vendors of the Assignor at the time of the assignment. We have identified
          instances where the Assignor did not filter its data provided to us to account for such
          exclusions. This resulted in some claims being identified by us for purposes of our
          recovery estimates. This also has resulted in other recovery agents of the Assignor
          making collections on claims that we previously believed were assigned to us. Although
          we endeavor to seek appropriate clarification from Assignors to properly identify claims
          that are being pursued by other recovery vendors, due to the nature and volume of data, it
          may not be possible to identify with precision all such claims. While we do not believe
          any overlap with other recovery vendors with respect to assigned claims to be material,
          there can be no assurance as to the ultimate impact on our recoveries or our business.

          69.      This statement was materially false and misleading because it understated the

  likelihood of assignors opting to pursue claims directly or turn to the Company’s competitors as

  a result of its inability to pay existing assignors in full for claims.

          70.      The Registration Statement contained the following disclosure on the Company’s

  future growth:

          Our business and future growth depend on our ability to successfully expand the
          volume of our healthcare claims and obtain data from new Assignors and healthcare
          claims from our existing Assignor base.

          We expect a significant portion of our future revenue growth to come from expanding the
          volume of claims we are assigned; this includes obtaining claims and data from new
          Assignors as well as our existing Assignors. Our efforts to do so may not be successful. If
          we are unable to successfully expand the scope of healthcare claims assigned from
          potential and existing Assignors, it could have a material adverse effect on our growth
          and on our business, financial condition and results of operations.

          71.      This statement was materially false and misleading because it did not disclose that

  it was unlikely to substantially expand the volume of healthcare claims assigned to it as a result

  of its inability to pay in full for existing claims. Further, its inability to pay in full for existing

  claims could lead to litigation, further reducing the likelihood of new assignors doing business

  with the Company.

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         72.     The Registration Statement contained the following disclosure on the premature

  termination of agreements between assignors of claims and the Company:

         If our existing Assignors prematurely terminate their agreement with us or if either
         party materially breaches an agreement, and we can no longer receive future
         assignments of healthcare claims recoveries, it could have a material adverse effect on
         our business, financial condition and results of operations.

         We expect in the future to derive, a significant portion of our revenue from our existing
         Assignors and, accordingly, we are reliant on ongoing data transfers and the associated
         assignments of claims from existing Assignors. As a result, maintaining these
         relationships is critical to our future growth and our business, financial condition and
         results of operations. We may experience significantly more difficulty than we anticipate
         in maintaining our existing Assignor agreements. Factors that may affect our ability to
         continue providing our services under such agreements for our services and our ability to
         sell additional solutions include:
             • the price, performance, and functionality of our solutions;
             • the availability, price, performance, and functionality of competing solutions;
             • our Assignors’ perceived ability to review claims accurately using their internal
                 resources;
             • our ability to develop complementary solutions;
             • our continued ability to access the data necessary to enable us to effectively
                 develop and deliver new solutions to Assignors;
             • the stability and security of our platform;
             • changes in healthcare laws, regulations, or trends; and
             • the business environment of our Assignors.

         Pursuant to the claims recovery and assignment agreements with our Assignors, the
         Assignors may choose to discontinue one or more services under an existing contract,
         may exercise flexibilities within their contracts to adjust service volumes, may breach or
         terminate the contract prior to its agreed upon completion date. A material breach by
         either party to the agreement may also result in the termination of receiving future claims.
         Any such occurrences could reduce our revenue from these Assignors. Although a
         cancellation or termination of a contract does not revoke the original assignment from our
         Assignors in many instances because such assignment was irrevocable, termination still
         affects future transfers of data and future assignment of claims. Accordingly, such
         cancellations or terminations can constrain our growth and result in a decrease in revenue
         which could have a material adverse effect on our business, financial condition and
         results of operations.

         73.     This statement was materially false and misleading because it underplayed the

  substantial likelihood of existing assignors choosing not to do business in the future as a result of

  the Company’s inability to pay them in full and on time.

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         74.    The Registration Statement contained the following disclosure on a failure to

  develop new assignor relationships:

         If we are unable to develop new Assignor relationships, it could have a material
         adverse effect on our business, financial condition and results of operations.

         As part of our strategy, we seek to develop new Assignor relationships, principally
         among healthcare payers and providers. Our ability to develop new relationships depends
         on a variety of factors, including the quality and performance of our solutions, as well as
         the ability to market and sell our solutions effectively and differentiate ourselves from
         our competitors. We may not be successful in developing new Assignor relationships. If
         we are unable to develop new Assignor relationships, it could have a material adverse
         effect on our business, financial condition and results of operations.

         75.    This statement was materially false and misleading because the Company knew or

  should have known that over time it would be difficult to maintain existing relationships with

  assignors, much less develop material relationships with new assignors, as a result of the

  Company’s poor finances and corresponding inability to pay assignors in full and on time.

         76.    The Registration Statement contained the following risk disclosure on the risk of

  having significant portions of its claims coming from a limited number of assignors:

         A significant portion of our claims comes from a limited number of Assignors, and the
         loss of one or more of these Assignors could have a material adverse effect on our
         business, financial condition and results of operations.

         We have acquired a significant portion of our claims from and entered into agreements
         for new services with a limited number of large Assignors. These Assignors assign these
         claims with an irrevocable assignment from the Assignor to us (“assignment agreement”)
         each with different and/or staggered terms. In addition, we also rely on our reputation and
         recommendations from key Assignors to promote our solutions to potential new
         Assignors.

         Further, our ability to pursue a significant portion of our claims depends on our
         arrangements pursuant to which we are granted access to health care data, which may be
         terminated upon the occurrence of certain events. See “- We use various data sources in
         our business and if we lose access to those data sources it could have a material adverse
         effect on our business, financial condition, and results of operations.” Accordingly, if any
         of these Assignors fail to renew or terminate their existing agreements with us, it could
         have a material adverse effect on our business, financial condition and results of
         operations.

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         77.     This was materially false and misleading because it understated the risk of a

  significant portion of claims coming from a small number of assignors, considering that it could

  not afford to pay existing assignors with which it had important and material agreements, such as

  Cano Health, in full and on time under the terms of its agreements.

         78.     The Registration Statement contained the following disclosure on competition:

         We face significant competition and we expect competition to increase.

         Competition among providers of healthcare payment accuracy solutions to U.S.
         healthcare insurance companies is strong and we may encounter additional competition
         as new competitors enter this area.

         Our current healthcare solutions competitors include:
            • other payment accuracy vendors, including vendors focused on discrete aspects of
                the healthcare payment accuracy process;
            • fraud, waste, and abuse claim edit and predictive analysis companies;
            • primary claims processors;
            • numerous regional utilization management companies;
            • in-house payment accuracy capabilities;
            • Medicare RACs; and
            • Healthcare consulting firms and other third-party liability service providers.

         We may not be able to compete successfully against existing or new competitors. In
         addition, we may be forced to increase the consideration we provide for assigned claims
         or lower our pricing, or the demand for our data-driven solutions may decrease as a
         result of increased competition. Further, a failure to be responsive to our existing and
         potential Assignors’ needs could hinder our ability to maintain or expand our Assignor
         base, hire and retain new employees, pursue new business opportunities, complete future
         acquisitions and operate our business effectively. Any inability to compete effectively
         could have a material adverse effect on our business, financial condition and results of
         operations.

         (Emphasis added).

         79.     This statement was materially false and misleading because the Company failed

  to disclose that it could not afford to increase the consideration provided for assigned claims,

  considering that it could not presently afford to pay assignors such as Cano Health in full.

         80.     The Registration Statement contained the following disclosure on brand

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  awareness and reputational risk:

         If we fail to cost-effectively develop widespread brand awareness and maintain our
         reputation, or if we fail to achieve and maintain market acceptance, our business could
         suffer.

         We believe that maintaining and enhancing our reputation and brand recognition is
         critical to our relationships with our Assignors and ability to attract new Assignors. The
         promotion of our brand may require us to make substantial investments and we anticipate
         that, as our market becomes increasingly competitive, these marketing initiatives may
         become increasingly difficult and expensive. Our marketing activities may not be
         successful or yield increased revenue, and to the extent that these activities yield
         increased revenue, the increased revenue may not offset the expenses we incur, and our
         results of operations could be harmed. In addition, any factor that diminishes our
         reputation or that of our management, including failing to meet expectations, or any
         adverse publicity or litigation involving or surrounding us, could make it substantially
         more difficult for us to attract new Assignors. In addition, negative publicity resulting
         from any adverse government audit could injure our reputation. If we do not successfully
         maintain and enhance our reputation and brand recognition, our business may not grow
         and we could lose our relationships with Assignors, which would harm our business,
         results of operations and financial condition.

         (Emphasis added).

         81.    This disclosure was materially false and misleading because it did not disclose

  that the Company was at a heightened risk of litigation which could affect its reputation,

  considering that it was unable to pay Cano Health in full and on time, which eventually led to a

  lawsuit.

         82.    The Registration Statement contained the following section on litigation risk:

         We are currently party to and may in the future become party to additional litigation,
         regulatory, or other dispute resolution proceedings. Adverse judgments or settlements
         in any of these proceedings could have a material adverse effect on our business,
         financial condition and results of operations.

         We are currently party to may in the future become party to lawsuits and other claims
         against us that arise from time to time in the ordinary course of our business. These may
         include lawsuits and claims related to, for example, contracts, subcontracts, protection of
         confidential information or trade secrets, wage and benefits, employment of our
         workforce or compliance with any of a wide array of state and federal statutes, rules and
         regulations that pertain to different aspects of our business. We also may be required to
         initiate expensive litigation or other proceedings to protect our business interests. In

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         addition, because of the payments we may receive from potential future government
         Assignors, we may become subject to unexpected inquiries, investigations, legal actions
         or enforcement proceedings pursuant to the False Claims Act, healthcare fraud, waste and
         abuse laws or similar legislation. Any investigations, settlements or adverse judgments
         stemming from such legal disputes or other claims may result in significant monetary
         damages or injunctive relief against us, as well as reputational injury that could adversely
         affect us. In addition, litigation and other legal claims are subject to inherent uncertainties
         and management’s view of currently pending legal matters may change in the future.
         Those uncertainties include, but are not limited to, costs of litigation, unpredictable
         judicial or jury decisions and the differing laws and judicial proclivities regarding
         damage awards among the states in which we operate. Unexpected outcomes in such
         legal proceedings, or changes in management’s evaluation or predictions of the likely
         outcomes of such proceedings (possibly resulting in changes in established reserves),
         could have a material adverse effect on our business, financial condition and results of
         operations.

         (Emphasis added).

         83.    The Registration Statement contained the following disclosure on risk relating to

  Defendants Ruiz and Quesada, among others, controlling the Company:

         We are controlled by the Members, including John H. Ruiz and Frank C. Quesada,
         whose interests may conflict with our interests and the interests of other stockholders.

         The Members (or their designees) hold all of our issued and outstanding Class V
         Common Stock, which control approximately 97.9% of the combined voting power of
         our common stock, and John H. Ruiz and Frank C. Quesada, as a group, control
         approximately 97.8% of the combined voting power of our common stock. See
         “Beneficial Ownership of Securities.” They effectively have the ability to determine all
         corporate actions requiring stockholder approval, including the election and removal
         of directors, any amendment to our certificate of incorporation or bylaws, or the
         approval of any merger or other significant corporate transaction, including a sale of
         substantially all of our assets. This could have the effect of delaying or preventing a
         change in control or otherwise discouraging a potential acquirer from attempting to
         obtain control of the Company, which could cause the market price of our Class A
         Common Stock to decline or prevent stockholders from realizing a premium over the
         market price for Class A Common Stock. The Members’ interests may conflict with our
         interests as a company or the interests of our other stockholders.

         (Emphasis added)

         84.    This statement was materially false and misleading because it said the interests

  “may” conflict with those of stockholders, rather than that the interests of Ruiz, among others,



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  were conflicting with other stockholders at the time that statement was made. Specifically,

  Ruiz’s interests conflicted with those of everyday stockholders through the Company’s business

  relationship with MSP Recovery Aviation LLC, which Ruiz owns and through which he

  maintains control of luxury aircraft including a Boeing 767 modified to have a master bedroom

  for Ruiz, among other luxury amenities. As a result, stockholders effectively pay Ruiz to travel

  in a plane that has been described by the Miami New Times as a “luxury penthouse that can fly”.

          85.     This statement was materially false and misleading because the Company did not

  disclose that, contrary to litigation occurring in the “ordinary course of business”, it was at a

  heightened risk of litigation as a result of being unable to pay assignors for health care claims, a

  crucial component of its business.

          86.     On August 12, 2022, MSP Recovery filed with the SEC its quarterly report on

  Form 10-Q for the period ended June 30, 2022 (the “2Q22 Report”). Attached to the 2Q22

  Report were certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) signed by

  defendants Ruiz and Hamstra attesting to the accuracy of financial reporting, the disclosure of

  any material changes to the Company’s internal control over financial reporting, and the

  disclosure of all fraud.

          87.     The 2Q22 Report contained the following disclosure on the Company’s business

  history:

          We have a history of net losses and no substantial revenue to date, and we may not
          achieve recoveries, generate significant revenue or achieve profitability. Our relatively
          limited operating history makes it difficult to evaluate our current business and future
          prospects and increases the risk of your investment.

          Our relatively limited operating history makes it difficult to evaluate our current business
          and plan for our future growth. MSP Recovery started in 2014 with its very first
          assignment from a health plan in Miami, Florida. To date, we have achieved no
          substantial revenue and limited actual recoveries from our assigned claims, and there is
          no guarantee that we will achieve recoveries, revenue and profitability as we have

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         projected. We have encountered and will continue to encounter significant risks and
         uncertainties frequently experienced by new and growing companies in rapidly changing
         industries, such as determining appropriate investments for our limited resources,
         competition from other data analytics companies, acquiring and retaining Assignors,
         hiring, integrating, training and retaining skilled personnel, unforeseen expenses,
         challenges in forecasting accuracy and successfully integrating new strategies. If we are
         unable to achieve actual recoveries, increase our Assignor base, successfully manage our
         recovery efforts from third-party payers or successfully expand, our revenue and our
         ability to achieve and sustain profitability would be impaired. If our assumptions
         regarding these and other similar risks and uncertainties, which we use to plan our
         business, are incorrect or change as we gain more experience operating our business or
         due to changes in our industry, or if we do not address these challenges successfully, our
         operating and financial results could differ materially from our expectations and our
         business could suffer.

         (Emphasis added).

         88.     This statement was materially false and misleading because it did not disclose that

  it was likely for the Company to have difficulty increasing its base of assignors as a result of not

  having the resources to pay existing assignors. It also did not disclose the risks of retaining

  existing assignors as well as litigation risk stemming from relations with existing assignors as a

  result of the failure to properly compensate assignors for claims.

         89.     The 2Q22 Report contained the following disclosure on assumption of risk of

  failure to recover:

         Under most of our agreements with Assignors, we assume the risk of failure to recover
         on the assigned claims, and if we fail to make recoveries with respect to the assigned
         claims receivables and therefore, are unable to generate recovery proceeds greater than
         or equal to the amounts paid by us to purchase the assigned claims, it can adversely
         affect our business.

         In many instances, we pay our Assignors an upfront purchase price for assignment of
         their healthcare claims recoveries. Accordingly, there is a risk that we may not
         successfully recapture the upfront purchase price if we fail to make recoveries with
         respect to the assigned claims. If we fail to generate significant recovery proceeds with
         respect to the assigned claims, it would have an adverse effect on our profitability and
         business.

         90.     This statement was materially false and misleading because it omitted that, at



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  least with respect to the major assignor Cano Health, the Company did not pay it an upfront

  purchase price. Instead, the Company agreed to pay Cano Health in Company stock, but then

  failed to do so, resulting in a lawsuit.

           91.    The 2Q22 Report contained the following disclosure on assignment validity:

           Our assignments can be deemed invalid in court which could adversely affect our
           recoveries and our business.

           We typically receive assignments of healthcare claims recoveries from our Assignors via
           irrevocable assignments. Accordingly, we are able to pursue those claims that our
           Assignors originally owned. Enforceability of our assignment agreements is often
           challenged by defendants in court. If a court determines that an assignment agreement is
           invalid (whether due to a technical deficiency or regulatory prohibition or otherwise), we
           will lose the ability to pursue those claims. This can adversely affect our recovery efforts
           and our business.

           92.    This statement was materially false and misleading because it did not disclose that

  the Company was plausibly at a higher risk of an assignment being deemed invalid if, for

  example, it emerged that the Company was in breach of contract with respect to that assigned

  claim.

           93.    The 2Q22 Report contained the following disclosure on assignors opting to

  pursue claims directly or use other recovery agents aside from the Company:

           Assignors may pursue recovery on claims directly or may use recovery agents other
           than us in connection with the Assignor’s efforts to recover on claims.

           With respect to the Assignors of the assigned claims, some of our agreements exclude
           from the assignment of claims those claims that are assigned to or being pursued by other
           recovery vendors of the Assignor at the time of the assignment. We have identified
           instances where the Assignor did not filter its data provided to us to account for such
           exclusions. This resulted in some claims being identified by us for purposes of our
           recovery estimates. This also has resulted in other recovery agents of the Assignor
           making collections on claims that we previously believed were assigned to us. Although
           we endeavor to seek appropriate clarification from Assignors to properly identify claims
           that are being pursued by other recovery vendors, due to the nature and volume of data, it
           may not be possible to identify with precision all such claims. While we do not believe
           that there is any overlap with other recovery vendors with respect to assigned claims to
           be material, there can be no assurance as to the ultimate impact on our recoveries or our

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         business.

         94.       This disclosure was materially false and misleading because it did not state that

  there was a heightened risk of assignors opting to pursue recovery directly as a result of its

  failure to pay them as per the applicable contract.

         95.       The 2Q22 Report contained the following disclosure on the premature termination

  of assignment agreements, as well as on breach of contract:

         If our existing Assignors prematurely terminate their agreement with us or if either
         party materially breaches an agreement, and we can no longer receive future
         assignments of healthcare claims recoveries, it could have a material adverse effect on
         our business, financial condition and results of operations.

         We expect in the future to derive a significant portion of our revenue from our existing
         Assignors and, accordingly, we are reliant on ongoing data transfers and the
         associated assignments of claims from existing Assignors. As a result, maintaining
         these relationships is critical to our future growth and our business, financial
         condition and results of operations. We may experience significantly more difficulty
         than we anticipate in maintaining our existing Assignor agreements. Factors that may
         affect our ability to continue providing our services under such agreements for our
         services and our ability to sell additional solutions include:

               •   the price, performance and functionality of our solutions;
               •   the availability, price, performance and functionality of competing solutions;
               •   our Assignors’ perceived ability to review claims accurately using their internal
                   resources;
               •   our ability to develop complementary solutions;
               •   our continued ability to access the data necessary to enable us to effectively
                   develop and deliver new solutions to Assignors;
               •   the stability and security of our platform;
               •   changes in healthcare laws, regulations, or trends; and
               •   the business environment of our Assignors.

         Pursuant to the claims recovery and assignment agreements with our Assignors, the
         Assignors may choose to discontinue one or more services under an existing contract,
         may exercise flexibilities within their contracts to adjust service volumes, and may
         breach or terminate the contract prior to its agreed upon completion date. A material
         breach by either party to the agreement may also result in the termination of receiving
         future claims. Any such occurrences could reduce our revenue from these Assignors.
         Although a cancellation or termination of a contract does not revoke the original
         assignment from our Assignors in many instances because such assignment was
         irrevocable, termination still affects future transfers of data and future assignment of

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         claims. Accordingly, such cancellations or terminations can constrain our growth and
         result in a decrease in revenue, which could have a material adverse effect on our
         business, financial condition and results of operations.

         (Emphasis added).

         96.     This statement was materially false and misleading because it did not disclose that

  the Company was at a heightened risk of failing to maintain its current assignor relationships,

  most pertinently with Cano Health, as a result of not honoring its end of applicable contracts.

         97.     The 2Q22 Report contained the following disclosure on concentration of risk in

  terms of its limited number of assignors:

         A significant portion of our claims comes from a limited number of Assignors, and the
         loss of one or more of these Assignors could have a material adverse effect on our
         business, financial condition and results of operations.

         We have acquired a significant portion of our claims from and entered into agreements
         for new services with a limited number of large Assignors. These Assignors assign these
         claims with an irrevocable assignment from the Assignor to us (“assignment agreement”)
         each with different and/or staggered terms. In addition, we also rely on our reputation and
         recommendations from key Assignors to promote our solutions to potential new
         Assignors.

         Further, our ability to pursue a significant portion of our claims depends on our
         arrangements pursuant to which we are granted access to health care data, which may be
         terminated upon the occurrence of certain events. See “- We use various data sources in
         our business and if we lose access to those data sources it could have a material adverse
         effect on our business, financial condition, and results of operations.” Accordingly, if any
         of these Assignors fail to renew or terminate their existing agreements with us, it could
         have a material adverse effect on our business, financial condition and results of
         operations.

         98.     This statement was materially false and misleading because it did not disclose that

  it was at a heightened risk of Cano Health terminating its relationship with the Company and

  resorting to litigation as a result of the Company’s failure to pay Cano Health as per its

  contractual obligations.

         99.     The 2Q22 Report contained the following disclosure on competition:



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         We face significant competition and we expect competition to increase.

         Competition among providers of healthcare payment accuracy solutions to U.S.
         healthcare insurance companies is strong and we may encounter additional competition
         as new competitors enter this area.

         Our current healthcare solutions competitors include:

             •   other payment accuracy vendors, including vendors focused on discrete aspects of
                 the healthcare payment accuracy process;
             •   fraud, waste, and abuse claim edit and predictive analysis companies;
             •   primary claims processors;
             •   numerous regional utilization management companies;
             •   in-house payment accuracy capabilities;
             •   Medicare RACs; and
             •   Healthcare consulting firms and other third-party liability service providers.

         We may not be able to compete successfully against existing or new competitors. In
         addition, we may be forced to increase the consideration we provide for assigned claims
         or lower our pricing, or the demand for our data-driven solutions may decrease as a
         result of increased competition. Further, a failure to be responsive to our existing and
         potential Assignors’ needs could hinder our ability to maintain or expand our Assignor
         base, hire and retain new employees, pursue new business opportunities, complete
         future acquisitions and operate our business effectively. Any inability to compete
         effectively could have a material adverse effect on our business, financial condition and
         results of operations.

         (Emphasis added).

         100.    This statement was materially false and misleading because it did not disclose that

  the Company would not be able to pay increased consideration for assigned claims, considering

  that it was not able to pay for existing assigned claims, most pertinently to Cano Health.

         101.    The 2Q22 Report contained the following disclosure on legal compliance:

         We are subject to extensive government regulation. Any violation of the laws and
         regulations applicable to us or a negative audit or investigation finding could have a
         material adverse effect on our business, financial condition and results of operations.

          Much of our business is regulated by the Federal Government and the states in which we
         operate. The laws and regulations governing our operations generally are intended to
         benefit and protect individual citizens, including government program beneficiaries,
         health plan members and providers, rather than stockholders. The government agencies
         administering these laws and regulations have broad latitude to enforce them. These laws

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         and regulations regulate how we do business, what services we offer and how we interact
         with our Assignors, providers, other healthcare payers and the public. Increased
         involvement by us in analytic or audit work that can have an impact on the eligibility of
         individuals for medical coverage or specific benefits could increase the likelihood and
         incidence of us being subjected to scrutiny or legal actions by parties other than our
         Assignors, based on alleged mistakes or deficiencies in our work, with significant
         resulting costs and strain on our resources.

         In addition, because we may receive payments from federal and state governmental
         agencies, we may become subject to various laws, including the Federal False Claims Act
         and similar state statutes, which permit government law enforcement agencies to institute
         suits against us for violations and, in some cases, to seek double or treble damages,
         penalties and assessments. In addition, private citizens, acting as whistleblowers, can sue
         on behalf of the Federal Government under the “qui tam” provisions of the Federal False
         Claims Act and similar statutory provisions in many states.

         The expansion of our operations into new products and services may further expose us to
         requirements and potential liabilities under additional statutes and legislative schemes
         that previously have not been relevant to our business, such as banking statutes, that may
         both increase demands on our resources for compliance activities and subject us to
         potential penalties for noncompliance with statutory and regulatory standards.

         If the government discovers improper or illegal activities in the course of audits or
         investigations, we may be subject to various civil and criminal penalties and
         administrative sanctions, which may include termination of contracts, forfeiture of
         profits, suspension of payments, fines and suspensions and debarment from doing
         business with the government. Such risks, particularly under the Federal False Claims
         Act and similar state fraud statutes, have increased in recent years due to legislative
         changes that have (among other amendments) expanded the definition of a false claim to
         include, potentially, any unreimbursed overpayment received from, or other monetary
         debt owed to, a government agency. If we are found to be in violation of any applicable
         law or regulation, or if we receive an adverse review, audit or investigation, any resulting
         negative publicity, penalties or sanctions could have an adverse effect on our reputation
         in the industry, impair our ability to compete for new contracts and have a material
         adverse effect on our business, financial condition and results of operations.

         (Emphasis added).

         102.    This statement was materially false and misleading because it discussed

  hypothetical penalties or investigations generally. Further, it discussed how increased

  involvement in analytic work by the Company could lead to “significant resulting costs and

  strain on our resources” as a result of legal action, but did not disclose that, by the time it was



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  issued, the Securities and Exchange Commission had initiated an investigation into the

  Company, which could lead to penalties and significant litigation costs and resource strain.

         103.    The 2Q22 Report contained the following financial information regarding the

  indemnification asset, various intangible assets and rights to cash flows:




         104.    As the Company later disclosed, these figures were false.

         105.    The 2Q22 Report contained the following on internal controls:

         Disclosure controls and procedures are controls and other procedures that are designed
         to ensure that information required to be disclosed in our reports filed or submitted under
         the Exchange Act is recorded, processed, summarized and reported within the time
         periods specified in the SEC’s rules and forms. Disclosure controls and procedures
         include, without limitation, controls and procedures designed to ensure that information
         required to be disclosed in our reports filed or submitted under the Exchange Act is
         accumulated and communicated to our management, including our Chief Executive
         Officer and Chief Financial Officer, to allow timely decisions regarding required
         disclosure.

         Evaluation of Disclosure Controls and Procedures

         Management is responsible for establishing and maintaining adequate internal control
         over financial reporting designed to provide reasonable assurance regarding the
         reliability of financial reporting and the preparation of financial statements for external
         purposes in accordance with GAAP. Management is likewise required, on a quarterly
         basis, to evaluate the effectiveness of its internal controls and to disclose any changes

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        and material weaknesses identified through such evaluation of those internal controls. A
        material weakness is a deficiency, or a combination of deficiencies, in internal control
        over financial reporting, such that there is a reasonable possibility that a material
        misstatement of MSP’s annual or interim financial statements will not be prevented or
        detected and corrected on a timely basis. Effective internal controls are necessary for us
        to provide reliable financial reports and prevent fraud. We expect to take steps to
        remediate the material weakness, but there is no assurance that any remediation efforts
        will ultimately have the intended effects. Prior to the Business Combination, material
        weaknesses were disclosed for both legacy MSP and LCAP. These are outlined below.
        As required by Rules 13a-15 and 15d-15 under the Exchange Act, our Chief Executive
        Officer and Chief Financial Officer carried out an evaluation of the effectiveness of the
        design and operation of our disclosure controls and procedures as of June 30, 2022.
        Based upon their evaluation, our Chief Executive Officer and Chief Financial Officer
        concluded that our disclosure controls and procedures (as defined in Rules 13a-15(e) and
        15d-15(e) under the Exchange Act) were not effective, due to the material weaknesses in
        our internal control over financial reporting related to the items noted below.

        LCAP

        Following the issuance of the “Staff Statement on Accounting and Reporting
        Considerations for Warrants issued by Special Purpose Acquisition Companies” by the
        staff of the SEC (the “SEC Staff Statement”), and after consultation with LCAP’s
        independent registered public accounting firm, LCAP’s management and audit
        committee concluded that, in light of the SEC Staff Statement, it was appropriate to
        restate previously issued and audited financial statements as of and for the period ended
        December 31, 2020.

        Additionally, LCAP previously recorded a portion of its Class A common stock subject
        to possible redemption in permanent equity. In accordance with SEC Staff guidance on
        redeemable equity instruments, ASC 480-10-S99, “Distinguishing Liabilities from
        Equity”, and EITF Topic D-98, “Classification and Measurement of Redeemable
        Securities”, redemption provisions not solely within the control of the issuing company
        require common stock subject to redemption to be classified outside of permanent
        equity. LCAP’s management re-evaluated the effectiveness of our disclosure controls
        and procedures and concluded that the misclassification of the Class A common stock
        was quantitatively material to individual line items within the balance sheet. LCAP
        concluded that the restatement of the Class A common stock represents a material
        weakness. In addition, on March 31, 2022, LCAP’s management and its audit committee
        concluded that a disclosure in regard to related parties was not disclosed within the notes
        to LCAP’s audited Financial Statements for the year ended December 31, 2021. As a
        result, LCAP identified a material weakness in its internal controls over financial
        reporting.

        LCAP also identified a material weakness in its internal control over financial reporting
        related to the accounting for complex financial instruments. As a result of this material
        weakness, LCAP’s management concluded that its internal control over financial

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        reporting was not effective as of December 31, 2020. This material weakness resulted in
        a material misstatement of LCAP’s derivative liabilities, change in fair value of
        derivative liabilities, Class A Common Stock subject to possible redemption, Class A
        Common Stock, additional paid-in capital, accumulated deficit and related financial
        disclosures for the period from December 23, 2019 (inception) through December 31,
        2020. For a discussion of management’s consideration of the material weakness
        identified related to LCAP’s accounting for a significant and unusual transaction
        related to the warrants LCAP issued in connection with the IPO, see “Note 2-
        Restatement of Previously Issued Financial Statements” to LCAP’s audited financial
        statements included in the S-1 Registration Statement filed on July 7, 2022 with the
        SEC. In addition, LCAP identified a material weakness in its internal controls over
        financial reporting as a result of not including certain disclosure in regard to related
        parties within the notes to its audited Financial Statements for the year ended December
        31, 2021. As a result, such financial statements were amended in order to appropriately
        disclose the related party transaction. See “Certain Relationships and Related Party
        Transactions ” included in the S-1 Registration Statement filed on July 7, 2022 with the
        SEC.

        LCAP has concluded that its internal control over financial reporting was ineffective as
        of December 31, 2020 and 2021, and MSP Recovery concluded that its internal control
        over financial reporting was ineffective as of June 30, 2022, because material
        weaknesses existed in LCAP’s internal control over financial reporting and they have
        not been remedied to date. MSP Recovery has taken a number of measures to remediate
        the material weaknesses described herein; however, if it is unable to remediate its
        material weaknesses in a timely manner or MSP Recovery identifies additional material
        weaknesses, it may be unable to provide required financial information in a timely and
        reliable manner, and MSP Recovery may incorrectly report financial information.

        MSP Recovery

        As of December 31, 2021 and 2020, the Company has identified material weaknesses in
        its internal control over financial reporting. The material weaknesses the Company
        identified were as follows:

           •   The Company did not have sufficient accounting and financial reporting
               resources to address its financial reporting requirements. Specifically:
                   o The Company did not have sufficient resources with an appropriate level
                      of knowledge and GAAP expertise to identify, evaluate and account for
                      transactions; and
                   o the Company did not have an adequate segregation of duties or
                      appropriate level of review that is needed to comply with financial
                      reporting requirements.
           •   The Company did not design, implement or maintain an effective control
               environment over our financial reporting requirements. Specifically:
                   o The Company did not have effective controls over the period end
                      financial reporting process and preparation of financial statements due to:

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                           ▪ A lack of a sufficient level of formal accounting policies and
                             procedures that define how transactions should be initiated,
                             recorded, processed and reported; and
                         ▪ a lack of an effective control environment over period end close
                             procedure.
                   o The Company did not have appropriate controls or documented
                     segregation of duties over information technology systems used to create
                     or maintain financial reporting records;
                   o The Company did not design or maintain the appropriate controls related
                     to the separation of accounting records for each entity included within the
                     combined and consolidated financial statements of the Company.

        These control deficiencies did not result in errors that were material to the Company’s
        annual financial statements. However, these control deficiencies could result in a
        misstatement in MSP’s accounts or disclosures that would result in a material
        misstatement to the annual financial statements that would not be prevented or detected.
        Accordingly, the Company determined that these control deficiencies constitute material
        weaknesses.

        The Company is in the process of implementing measures designed to improve their
        internal control over financial reporting and remediate the control deficiencies that led to
        the material weaknesses. As of June 30, 2022, MSP has hired key accounting
        personnel with appropriate levels of U.S. generally accepted accounting principles
        expertise and financial reporting knowledge and experience as well as has begun
        developing formal accounting policies and procedures, designing a control
        environment over how transactions are initiated, recorded, processed and reported,
        and implementing period end close procedures. The Company also has implemented
        certain accounting systems to automate manual processes, to help implement segregation
        of duties and to assist in consolidation and period end close. However, the Company is
        still in the process of addressing these deficiencies and there is no assurance that these
        measures will significantly improve or remediate the material weaknesses described
        above. The Company and their independent registered public accounting firm, were not
        required to perform an evaluation of the Company's internal control over financial
        reporting as of December 31, 2021 in accordance with the provisions of the Sarbanes-
        Oxley Act and as such, there is no assurance that the Company has identified all material
        weaknesses or that there will not be additional material weaknesses or deficiencies that
        are identified. While the Company’s independent registered public accounting firm is
        not required to audit the effectiveness of our internal control over financial reporting
        until after the Company is no longer an “emerging growth company” as defined in the
        JOBS Act, a failure to design, implement or maintain effective internal control over
        financial reporting could adversely affect the results of annual independent registered
        public accounting firm audit reports regarding the effectiveness of the Company’s
        internal control over financial reporting that the Company will eventually be required to
        include in reports that will be filed with the SEC. If at such time, the Company’s
        independent registered public accounting firm issue an audit report that is adverse due to
        one or more material weaknesses in the Company’s internal control over financial

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         reporting, this could have a material and adverse effect on the Company’s business,
         results of operations and financial condition, and it could cause a decline in the trading
         price of the Company’s Class A common stock.

         (Emphasis added).

         106.    This statement was materially false and misleading because, even with the

  information above, it still understated the significant extent of the Company’s material internal

  control weaknesses, including for the financial information presented in that very report, which

  would eventually lead to a government investigation.

         107.    On November 10, 2022, MSP Recovery filed with the SEC its quarterly report on

  Form 10-Q for the period ended September 30, 2022 (the “3Q22 Report”). Attached to the 3Q22

  Report were certifications pursuant to SOX signed by defendants Ruiz and Hamstra attesting to

  the accuracy of financial reporting, the disclosure of any material changes to the Company’s

  internal control over financial reporting, and the disclosure of all fraud.

         108.    The 3Q22 Report stated that the figures for the indemnification asset, various
  intangible assets were $752,510, $2,077,571, respectively.
         109.    As the Company later disclosed, these figures were false.
         110.    The 3Q22 Report contained the following section on internal controls:
         Disclosure controls and procedures are controls and other procedures that are designed
         to ensure that information required to be disclosed in our reports filed or submitted under
         the Exchange Act is recorded, processed, summarized and reported within the time
         periods specified in the SEC’s rules and forms. Disclosure controls and procedures
         include, without limitation, controls and procedures designed to ensure that information
         required to be disclosed in our reports filed or submitted under the Exchange Act is
         accumulated and communicated to our management, including our Chief Executive
         Officer and Chief Financial Officer, to allow timely decisions regarding required
         disclosure.

         Evaluation of Disclosure Controls and Procedures
         Management is responsible for establishing and maintaining adequate internal control
         over financial reporting designed to provide reasonable assurance regarding the
         reliability of financial reporting and the preparation of financial statements for external
         purposes in accordance with GAAP. Management is likewise required, on a quarterly

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        basis, to evaluate the effectiveness of its internal controls and to disclose any changes
        and material weaknesses identified through such evaluation of those internal controls. A
        material weakness is a deficiency, or a combination of deficiencies, in internal control
        over financial reporting, such that there is a reasonable possibility that a material
        misstatement of MSP’s annual or interim financial statements will not be prevented or
        detected and corrected on a timely basis. Effective internal controls are necessary for us
        to provide reliable financial reports and prevent fraud. We expect to take steps to
        remediate the material weakness, but there is no assurance that any remediation efforts
        will ultimately have the intended effects. Prior to the Business Combination, material
        weaknesses were disclosed for both legacy MSP and LCAP. These are outlined below.
        As required by Rules 13a-15 and 15d-15 under the Exchange Act, our Chief Executive
        Officer and Chief Financial Officer carried out an evaluation of the effectiveness of the
        design and operation of our disclosure controls and procedures as of September 30,
        2022. Based upon their evaluation, our Chief Executive Officer and Chief Financial
        Officer concluded that our disclosure controls and procedures (as defined in Rules 13a-
        15(e) and 15d-15(e) under the Exchange Act) were not effective, due to the material
        weaknesses in our internal control over financial reporting related to the items noted
        below.

        LCAP

        Following the issuance of the “Staff Statement on Accounting and Reporting
        Considerations for Warrants issued by Special Purpose Acquisition Companies” by the
        staff of the SEC (the “SEC Staff Statement”), and after consultation with LCAP’s
        independent registered public accounting firm, LCAP’s management and audit
        committee concluded that, in light of the SEC Staff Statement, it was appropriate to
        restate previously issued and audited financial statements as of and for the period ended
        December 31, 2020.

        Additionally, LCAP previously recorded a portion of its Class A common stock subject
        to possible redemption in permanent equity. In accordance with SEC Staff guidance on
        redeemable equity instruments, ASC 480-10-S99, “Distinguishing Liabilities from
        Equity”, and EITF Topic D-98, “Classification and Measurement of Redeemable
        Securities”, redemption provisions not solely within the control of the issuing company
        require common stock subject to redemption to be classified outside of permanent
        equity. LCAP’s management re-evaluated the effectiveness of our disclosure controls
        and procedures and concluded that the misclassification of the Class A common stock
        was quantitatively material to individual line items within the balance sheet. LCAP
        concluded that the restatement of the Class A common stock represents a material
        weakness. In addition, on March 31, 2022, LCAP’s management and its audit committee
        concluded that a disclosure in regard to related parties was not disclosed within the notes
        to LCAP’s audited Financial Statements for the year ended December 31, 2021. As a
        result, LCAP identified a material weakness in its internal controls over financial
        reporting.




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        LCAP also identified a material weakness in its internal control over financial reporting
        related to the accounting for complex financial instruments. As a result of this material
        weakness, LCAP’s management concluded that its internal control over financial
        reporting was not effective as of December 31, 2020. This material weakness resulted in
        a material misstatement of LCAP’s derivative liabilities, change in fair value of
        derivative liabilities, Class A Common Stock subject to possible redemption, Class A
        Common Stock, additional paid-in capital, accumulated deficit and related financial
        disclosures for the period from December 23, 2019 (inception) through December 31,
        2020. For a discussion of management’s consideration of the material weakness
        identified related to LCAP’s accounting for a significant and unusual transaction related
        to the warrants LCAP issued in connection with the IPO, see “Note 2-Restatement of
        Previously Issued Financial Statements” to LCAP’s audited financial statements
        included in the S-1 Registration Statement filed on July 7, 2022 with the SEC. In
        addition, LCAP identified a material weakness in its internal controls over financial
        reporting as a result of not including certain disclosure in regard to related parties within
        the notes to its audited Financial Statements for the year ended December 31, 2021. As a
        result, such financial statements were amended in order to appropriately disclose the
        related party transaction. See “Certain Relationships and Related Party Transactions ”
        included in the S-1 Registration Statement filed on July 7, 2022 with the SEC.

        LCAP had concluded that its internal control over financial reporting was ineffective as
        of December 31, 2020 and 2021, and MSP Recovery concluded that its internal control
        over financial reporting was ineffective as of June 30, 2022, because material
        weaknesses existed in LCAP’s internal control over financial reporting and they have
        not been remediated to date. MSP Recovery has taken a number of measures to
        remediate the material weaknesses described herein; however, if it is unable to remediate
        its material weaknesses in a timely manner or MSP Recovery identifies additional
        material weaknesses, it may be unable to provide required financial information in a
        timely and reliable manner, and MSP Recovery may incorrectly report financial
        information.

        MSP Recovery
        As of December 31, 2021 and 2020, the Company has identified material weaknesses in
        its internal control over financial reporting. The material weaknesses the Company
        identified were as follows:
            • The Company did not have sufficient accounting and financial reporting
                resources to address its financial reporting requirements. Specifically:
                    o The Company did not have sufficient resources with an appropriate level
                       of knowledge and GAAP expertise to identify, evaluate and account for
                       transactions; and
                    o The Company did not have an adequate segregation of duties or
                       appropriate level of review that is needed to comply with financial
                       reporting documents.
            • The Company did not design, implement or maintain an effective control
                environment over our financial reporting requirements. Specifically:


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                   o The Company did not have effective controls over the period end
                     financial reporting process and preparation of financial statements due to:
                         ▪ A lack of a sufficient level of formal accounting policies and
                             procedures that define how transactions should be initiated,
                             recorded, processed and reported; and
                         ▪ A lack of an effective control environment over period end close
                             procedures.
                   o The Company did not have appropriate controls or documented
                     segregation of duties over information technology systems used to create
                     or maintain financial reporting records;
                   o The Company did not design or maintain the appropriate controls related
                     to the separation of accounting records for each entity included within the
                     combined and consolidated financial statements of the Company.

        These control deficiencies did not result in errors that were material to the Company’s
        annual financial statements. However, these control deficiencies could result in a
        misstatement in MSP’s accounts or disclosures that would result in a material
        misstatement to the annual financial statements that would not be prevented or detected.
        Accordingly, the Company determined that these control deficiencies constitute material
        weaknesses.

        The Company is in the process of implementing measures designed to improve their
        internal control over financial reporting and remediate the control deficiencies that led to
        the material weaknesses. During 2022, MSP has hired key accounting personnel with
        appropriate levels of U.S. generally accepted accounting principles expertise and
        financial reporting knowledge and experience as well as has begun developing formal
        accounting policies and procedures, designing a control environment over how
        transactions are initiated, recorded, processed and reported, and implementing period
        end close procedures. The Company also has implemented certain accounting systems to
        automate manual processes, to help implement segregation of duties and to assist in
        consolidation and period end close. However, the Company is still in the process of
        addressing these deficiencies and there is no assurance that these measures will
        significantly improve or remediate the material weaknesses described above. The
        Company and their independent registered public accounting firm, were not required to
        perform an evaluation of the Company's internal control over financial reporting as of
        December 31, 2021 in accordance with the provisions of the Sarbanes-Oxley Act and as
        such, there is no assurance that the Company has identified all material weaknesses or
        that there will not be additional material weaknesses or deficiencies that are identified.
        While the Company’s independent registered public accounting firm is not required to
        audit the effectiveness of our internal control over financial reporting until after the
        Company is no longer an “emerging growth company” as defined in the JOBS Act, a
        failure to design, implement or maintain effective internal control over financial
        reporting could adversely affect the results of annual independent registered public
        accounting firm audit reports regarding the effectiveness of the Company’s internal
        control over financial reporting that the Company will eventually be required to include
        in reports that will be filed with the SEC. If at such time, the Company’s independent

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          registered public accounting firm issue an audit report that is adverse due to one or more
          material weaknesses in the Company’s internal control over financial reporting, this
          could have a material and adverse effect on the Company’s business, results of
          operations and financial condition, and it could cause a decline in the trading price of the
          Company’s Class A common stock.

          111.    This statement was materially false and misleading because, even with the

  information above, it still understated the significant extent of the Company’s material internal

  control weaknesses, including for the financial information presented in that very report, which

  would eventually lead to a government investigation.

          112.    The 3Q22 Report incorporated by reference the risk disclosures from the 2Q22

  Report, including the materially false and misleading statement referenced in paragraphs 87, 89,

  91, 93, 95, 97, 99, 101, 103 and 105.

          113.    On April 4, 2023, in response to a statement by former Cano Health Board

  Member Barry Sternlicht about why he was leaving Cano Health, in which he attacked MSP

  Recovery, Defendant Ruiz’s response was recorded in a Miami New Times article entitled “It

  Should Be Gravy”: Miami Magnate John Ruiz Bites Back After Cano Health Drama”. The

  article stated, in pertinent part:

          When he resigned from the Cano Health board of directors on March 30, Miami Beach
          billionaire Barry Sternlicht went out with a bang, skewering the company and CEO
          Marlow Hernandez for burning through cash and poor management, as he saw it.

                                                 *       *     *
          In the scathing letter, Sternlicht claimed the company's management missteps were
          exemplified by transactions with fellow Miami-area billionaire John Ruiz's firm MSP
          Recovery. It was a pointed yet cryptic jab in the direction of MSP, a company that Cano
          enlists for medical claims collection.

          "The number and nature of related party transactions, together with what I consider
          poor governance (demonstrated by transactions such as MSP Recovery), is highly
          concerning to me as it should be to the rest of the Board," Sternlicht wrote.

          While Sternlicht's office declined to elaborate on his comments when reached by New
          Times, Cano's public filings detail an arrangement in which Cano assigns claims to MSP

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        Recovery in exchange for cash or stock. Late last year, Cano also tested out some of
        MSP's healthcare data tools leading up to MSP's rebranding under its new LifeWallet
        moniker.

        Ruiz tells New Times he's at a loss to explain why his company was targeted in
        Sternlicht's barrage.

        "I guess maybe he doesn't understand probably what we do... It should be gravy to
        them anyway. Because he was never at a meeting, he doesn't understand how it works.
        He doesn't understand the value behind it," Ruiz says.

        "It really doesn't cost Cano much of anything at all other than engaging us to do some
        data software, installing LifeWallet systems: an improvement of both the payer and the
        patients themselves. It's just very weird. I just think he's got a vendetta against
        somebody."

        Ruiz adds Sternlicht's comments were in "poor taste."

        "And on top of that, I think that a board member shows a lack of professionalism in
        conducting himself the way that he did it. [It] becomes quite obvious that there's an
        agenda behind the manner in which it was done."

        MSP specializes in medical claims recovery in situations where a primary insurer like an
        auto insurer allegedly fails to pay up for the treatment of an injured patient, putting the
        burden on Medicare, Medicaid, or other health plans.

        As of December 2022, MSP Recovery owed Cano roughly $60 million in receivables.
        The sum was due before the filing of an annual report, and MSP had the option to pay
        Cano in cash or stock.

        LifeWallet chief communications officer Diana Diaz says the company offered the same
        services to Cano as it does for other clientele, including analyzing data to identify "every
        recoverable instance" for medical claims.

        "It was our business model... that we offer to all of our clients," Diaz tells New Times.
        "There was no difference between the Cano purchase and others that we've done for
        clients. We purchased the recovery rights. In this case, those recovery rights were paid
        in shares."

        MSP rebranded as LifeWallet in December 2022 after a difficult year in which its stock
        tanked upon going public, in an SPAC merger comparable to Cano's. Within a week of
        opening trading on the NASDAQ, the Coral Gables-based company lost more than 90
        percent of its share value, shedding billions of dollars in market capitalization.

        In the bid to rebrand, MSP introduced new patient-centered healthcare products and a
        blockchain-based tool that it said would help process claims data more efficiently.

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         The company also touted Ruiz's much-publicized foray into the world of collegiate
         sports marketing. A top funder of "name, image, and likeness" (NIL) deals for university
         athletes, Ruiz has enlisted multiple Miami Hurricanes players for endorsement deals
         with LifeWallet.

         Though it had a new name, MSP maintained its core business was still medical claims
         recovery.

         In August 2022, Cano Health announced a partnership with MSP Recovery to implement
         a test program slated to include facial recognition for patient check-in and tools to ensure
         the accuracy of patients' medical information. Three months later, MSP (rebranded as
         LifeWallet) described how its blockchain technology was being tested by Cano as part of
         a similar pilot program.

         Ruiz says he believes the MSP Recovery "transactions" Sternlicht criticized were
         related to claims assignments, rather than the minutia of the LifeWallet products. [. . .]

         (Emphasis added).

         114.    Defendant Ruiz’s response to Barry Sternlicht’s resignation from the Cano

  Health board and his stated grievances leading to that decision were materially false and

  misleading because, contrary to what he represented, Cano Health had legitimate grievances as a

  result of MSP Recovery’s failure to pay it in full for assigned claims, which would eventually

  lead to a lawsuit.

         115.    On April 14, 2023, the Company filed with the SEC a Current Report on Form 8-

  K in which it announced that its financial statements in the 2Q22 and 3Q22 Reports could no

  longer be relied upon. It stated the following:

         On April 14, 2023, the Audit Committee of the Board of Directors (the “Audit
         Committee”) of MSP Recovery, Inc., d/b/a LifeWallet (the “Company”), concluded that
         the Company’s quarterly financial statements for the periods ended June 30, 2022 and
         September 30, 2022 require restatements and should no longer be relied upon. In
         addition, any previously issued or filed earnings releases, investor presentations or other
         communications describing the Company’s quarterly financial statements and other
         related financial information covering the quarters ended June 30, 2022 and September
         30, 2022 should no longer be relied upon.




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         In connection with the preparation of the Company's audited financial statements for the
         year ended December 31, 2022, the Company identified errors in the accounting for the
         indemnification asset, various intangible assets and rights to cash flows and
         consolidation of an entity in connection with the Company's business combination. The
         Company used in the valuation of certain assets acquired in connection with the business
         combination the market price of the Company's Class A common stock based on the
         closing price immediately preceding the business combination, which instead should
         have been based on the opening price of the Company's Class A common stock after the
         closing of the Company's business combination. In addition, the Company determined
         that rights to receive the distributable net proceeds from certain claims should have been
         consolidated into the Company's financial statements. In connection with these
         restatements, the Company also identified material weaknesses in internal controls
         related to the accounting for complex transactions.

         The Company will include restated financial information for the affected periods in a
         footnote to the financial statements included in the Company's Annual Report on Form
         10-K for the fiscal year ended December 31, 2022, as well as in future Quarterly Reports
         or Form 10-Q. The Company has not filed and does not intend to file an amendment to
         the Company’s previously filed Quarterly Reports on Form 10-Q for the affected
         periods.

         The Company’s management and the Audit Committee have discussed the matters
         disclosed in this Current Report on Form 8-K pursuant to this Item 4.02 with Deloitte &
         Touche LLP, the Company’s independent registered public accounting firm.

         116.    This statement was materially false and misleading because while it admitted that

  the Company’s financial results would need to be restated, it understated the Company’s

  problems, which led to a government investigation.

         117.    On July 27, 2023, the Company filed with the SEC its annual report on Form 10-

  K for the period ended December 31, 2022 (the “2022 Annual Report”). Attached to the 2022

  Annual Report were certifications pursuant to SOX signed by defendants Ruiz and Rivera

  attesting to the accuracy of financial reporting, the disclosure of any material changes to the

  Company’s internal control over financial reporting, and the disclosure of all fraud.

         118.    In the 2022 Annual Report, the Company stated the following as a risk:

         We are subject to extensive government regulation. Any violation of the laws and
         regulations applicable to us or a negative audit or investigation finding could have a
         material adverse effect on our business.

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        Much of our business is regulated by the Federal Government and the states in which we
        operate. The laws and regulations governing our operations generally are intended to
        benefit and protect individual citizens, including government program beneficiaries,
        health plan members and providers, rather than stockholders. The government agencies
        administering these laws and regulations have broad latitude to enforce them. These laws
        and regulations regulate how we do business, what services we offer and how we
        interact with our Assignors, providers, other healthcare payers and the public. Increased
        involvement by us in analytic or audit work that can have an impact on the eligibility of
        individuals for medical coverage or specific benefits could increase the likelihood and
        incidence of us being subjected to scrutiny or legal actions by parties other than our
        Assignors, based on alleged mistakes or deficiencies in our work, with significant
        resulting costs and strain on our resources.

                                            *        *     *

        The expansion of our operations into new products and services may further expose us to
        requirements and potential liabilities under additional statutes and legislative schemes
        that previously have not been relevant to our business, such as banking statutes, that may
        both increase demands on our resources for compliance activities and subject us to
        potential penalties for noncompliance with statutory and regulatory standards.

        If the government discovers improper or illegal activities in the course of audits or
        investigations, we may be subject to various civil and criminal penalties and
        administrative sanctions, which may include termination of contracts, forfeiture of
        profits, suspension of payments, fines and suspensions and debarment from doing
        business with the government. Such risks, particularly under the Federal False Claims
        Act and similar state fraud statutes, have increased in recent years due to legislative
        changes that have (among other amendments) expanded the definition of a false claim to
        include, potentially, any unreimbursed overpayment received from, or other monetary
        debt owed to, a government agency. If we are found to be in violation of any applicable
        law or regulation, or if we receive an adverse review, audit or investigation, any
        resulting negative publicity, penalties or sanctions could have an adverse effect on our
        reputation in the industry, impair our ability to compete for new contracts and have a
        material adverse effect on our business, financial condition and results of operations.

        We are also subject to laws, regulations and rules enacted by national, regional and local
        governments and Nasdaq. In particular, we are required to comply with certain SEC,
        Nasdaq and other legal or regulatory requirements. Compliance with, and monitoring of,
        applicable laws, regulations and rules may be difficult, time-consuming and costly.
        Those laws, regulations or rules and their interpretation and application may also change
        from time to time and those changes could have a material adverse effect on our
        business, investments and results of operations. In addition, a failure to comply with
        applicable laws, regulations or rules, as interpreted and applied, could have a material
        adverse effect on our business and results of operations.



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         (Emphasis added)

         119.   This statement was materially false and misleading because it discussed

  hypothetical violations or investigations when, by the time it was made, the Company had been

  informed that it was under investigation by the Securities & Exchange Commission and had

  received a subpoena by the United States District Attorney’s Office in connection with a grand

  jury investigation in the U.S. District Court for the Southern District of Florida, and Company

  materials had been subpoenaed.

         120.   The 2022 Annual Report contained the following disclosure on the Company’s

  history:

         We have a history of net losses and no substantial revenue to date, and we may not
         achieve recoveries, generate significant revenue, or achieve profitability. Our
         relatively limited operating history makes it difficult to evaluate our current business
         and future prospects and increases the risk of your investment.

         Our relatively limited operating history makes it difficult to evaluate our current
         business and plan for our future growth. The Company started in 2014 with its very first
         assignment from a health plan in Miami, Florida. To date, we have achieved no
         substantial revenue and limited actual recoveries from our assigned Claims, and there is
         no guarantee that we will achieve recoveries, revenue, or profitability as we have
         projected. We have encountered and will continue to encounter significant risks and
         uncertainties frequently experienced by new and growing companies in rapidly changing
         industries, such as determining appropriate investments for our limited resources,
         competition from other data analytics companies, acquiring and retaining Assignors,
         hiring, integrating, training and retaining skilled personnel, unforeseen expenses,
         challenges in forecasting accuracy and successfully integrating new strategies. If we are
         unable to achieve actual recoveries, increase our Assignor base, successfully manage
         our recovery efforts from third-party payers or successfully expand, our revenue and our
         ability to achieve and sustain profitability would be impaired. If our assumptions
         regarding these and other similar risks and uncertainties, which we use to plan our
         business, are incorrect or change as we gain more experience operating our business or
         due to changes in our industry, or if we do not address these challenges successfully, our
         operating and financial results could differ materially from our expectations and our
         business could suffer.

         121.   This statement was materially false and misleading because it did not disclose

  that it was at a heightened risk of not being able to acquire or retain assignors as a result of

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  being able to pay existing assignors. By the time this statement was made, the Company had

  even resorted to delaying by months the filings of its reports with the SEC, including the 2022

  Annual Report, and using that as an excuse to not pay its assignors.

         122.    The 2022 Annual Report contained the following disclosure on assignors

  pursuing recovery directly or, alternatively, using other recovery agents:

         Assignors may pursue recovery on Claims directly or may use recovery agents other
         than us in connection with the Assignor’s efforts to recover on Claims.

         With respect to the Assignors of the assigned Claims, some of our agreements exclude
         from the assignment of Claims those Claims that are assigned to or being pursued by
         other recovery vendors of the Assignor at the time of the assignment. We have identified
         instances where the Assignor did not filter its data provided to us to account for such
         exclusions. This resulted in some Claims being identified by us for purposes of our
         recovery estimates. This also has resulted in other recovery agents of the Assignor
         making collections on Claims that we previously believed were assigned to us. Although
         we endeavor to seek appropriate clarification from Assignors to properly identify Claims
         that are being pursued by other recovery vendors, due to the nature and volume of data,
         it may not be possible to identify with precision all such Claims. While we do not
         believe that there is any overlap with other recovery vendors with respect to assigned
         Claims to be material, there can be no assurance as to the ultimate impact on our
         recoveries or our business.

         123.    This statement was materially false and misleading at the time it was made

  because it omitted that Assignors might, as a result of issues such as the Company’s failure to

  pay for existing assigned claims (and even delaying the filing of forms with the SEC to avoid

  having to pay for assigned claims) opt to use other recovery agents in the future or pursue

  claims themselves.

         124.    The 2022 Annual Report contained this claim on its future growth:

         Our business and future growth depend on our ability to successfully expand the
         volume of our healthcare Claims and obtain data from new Assignors and healthcare
         Claims from our existing Assignor base.

         We expect a significant portion of our future revenue growth to come from expanding
         the volume of Claims we are assigned; this includes obtaining Claims and data from new
         Assignors as well as our existing Assignors. Our efforts to do so may not be successful.

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         If we are unable to successfully expand the scope of healthcare Claims assigned from
         potential and existing Assignors, it could have a material adverse effect on our growth
         and on our business, financial condition, and results of operations.

         125.   This statement was materially false and misleading because, by the time it was

  made, the Company was resorting to extreme measures such as failing to file reports on forms

  10-Q and 10-K with the SEC in order to avoid paying assignors of claims.

         126.   The 2022 Annual Report contained this disclosure on the termination of

  agreements with Assignors, and on breach of agreements:

         If our existing Assignors prematurely terminate their agreement with us or if either
         party materially breaches an agreement, and we can no longer receive future
         assignments of healthcare Claims recoveries, it could have a material adverse effect
         on our business, financial condition, and results of operations.

         We expect in the future to derive a significant portion of our revenue from our existing
         Assignors and, accordingly, we are reliant on ongoing transfer and usage of data, and
         associated assignments, of Claims from existing Assignors. As a result, maintaining
         these relationships is critical to our future growth and our business, financial condition
         and results of operations. We may experience significantly more difficulty than we
         anticipate in maintaining our existing Assignor agreements. Factors that may affect our
         ability to continue providing our services under such agreements for our services and our
         ability to sell additional solutions include:
             • the price, performance, and functionality of our solutions;
             • the availability, price, performance, and functionality of competing solutions;
             • our Assignors’ perceived ability to review Claims accurately using their internal
                  resources;
             • our ability to develop complementary solutions;
             • our continued ability to access the data necessary to enable us to effectively
                  develop and deliver new solutions to Assignors;
             • the stability and security of our platform;
             • changes in healthcare laws, regulations, or trends; and
             • the business environment of our Assignors.

         Pursuant to the Claims recovery and assignment agreements with our Assignors, the
         Assignors may choose to discontinue one or more services under an existing contract,
         may exercise flexibilities within their contracts to adjust service volumes, and may
         breach or terminate the contract prior to its agreed upon completion date. A material
         breach by either party to the agreement may also result in the termination of receiving
         future Claims. Any such occurrences could reduce our revenue from these Assignors.
         Although a cancellation or termination of a contract does not revoke the original
         assignment from our Assignors in many instances because such assignment was

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         irrevocable, termination still affects future transfers of data and future assignment of
         Claims. Accordingly, such cancellations or terminations can constrain our growth and
         result in a decrease in revenue, which could have a material adverse effect on our
         business, financial condition and results of operations.

         127.    This statement was materially false and misleading because, at the time it was

  made, there was a heightened risk of assignors prematurely terminating agreements with the

  Company as a result of its failure to pay for claims.

         128.    The 2022 Annual Report contained the following section on data access in the

  event of the termination of an agreement:

         If an Assignor prematurely terminates its agreement with us, we may be precluded
         from accessing that Assignor’s data and/or be forced to destroy data in our position
         from that Assignor, which may substantially impair our ability to recover on that
         Assignor’s Claims.

         We enter into Claims Cost Recovery Agreements (“CCRA”) and Business Associate
         Agreements (“BAA”) with our Assignors. Pursuant to the CCRAs with our Assignors,
         our Assignors typically agree to provide the Company with historical claims data as well
         as the most updated claims data that the Assignor’s systems can provide and provide
         ongoing data transfers and agreed upon intervals. If, for any reason, our CCRA with an
         Assignor is terminated, our BAA with that Assignor requires us to return and/or destroy
         all Protected Health Information, which may substantially impair our ability to recover
         on that Assignor’s Claims.

         129.    This statement was false and misleading because, by the time it was made, the

  Company was unable to pay for its existing claims, raising the likelihood of the termination of

  an agreement and, as such, raising the likelihood that the Company wouldn’t be able to access

  data needed to recover on a claim.

         130.    The 2022 Annual Report contained the following risk disclosure on developing

  new assignor relationships:

         If we are unable to develop new Assignor relationships, it could have a material
         adverse effect on our business, financial condition, and results of operations.

         As part of our strategy, we seek to develop new Assignor relationships, principally
         among healthcare payers and providers. Our ability to develop new relationships

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         depends on a variety of factors, including the quality and performance of our solutions,
         as well as the ability to market and sell our solutions effectively and differentiate
         ourselves from our competitors. We may not be successful in developing new Assignor
         relationships. If we are unable to develop new Assignor relationships, it could have a
         material adverse effect on our business, financial condition, and results of operations.

         131.      This statement was materially false and misleading because, by the time it was

  made, there was a heightened risk of the Company being unable to develop new assignor

  relationships as a result of it being unable to pay existing assignors of claims, which could lead

  to reputational damage if an existing assignor decided to resort to litigation to recover unpaid

  funds, which happened just a few weeks after the filing of the 2022 Annual Report,

         132.      The 2022 Annual Report contained the following disclosure on concentration of

  assignor risk:

         A significant portion of our Claims comes from a limited number of Assignors who
         have relationships with key existing payers, and the loss of one or more of these
         Assignors or disruptions in Assignor-payer relationships could have a material
         adverse effect on our business, financial condition and results of operations.

         We have acquired a significant portion of our Claims from and entered into agreements
         for new services with a limited number of large Assignors. These Assignors assign these
         Claims with an irrevocable assignment from the Assignor to us each with different
         and/or staggered terms. In addition, we also rely on our reputation and recommendations
         from key Assignors to promote our solutions to potential new Assignors.

         Further, our ability to pursue a significant portion of our Claims depends on our
         arrangements pursuant to which we are granted access to health care data, which may be
         terminated upon the occurrence of certain events. See “- We use various data sources in
         our business and if we lose access to those data sources it could have a material adverse
         effect on our business, financial condition, and results of operations.” Accordingly, if
         any of these Assignors fail to renew or terminate their existing agreements with us, it
         could have a material adverse effect on our business, financial condition and results of
         operations.

         133.      This statement was materially false and misleading at the time it was made

  because the Company was in breach of its agreement with Cano Health, and had even resorted

  to delaying its filing of the 2022 Annual Report in order to avoid paying Cano Health. As a



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  result, it was at substantial litigation risk relating to Cano Health, an important assignor, and

  was also at a high level of reputational risk.

         134.    The 2022 Annual Report contained the following disclosure on competition:

         We face significant competition, and we expect competition to increase.

         Competition among providers of healthcare payment accuracy solutions to U.S.
         healthcare insurance companies is strong and we may encounter additional competition
         as new competitors enter this area.

         Our current healthcare solutions competitors include:

             •   other payment accuracy vendors, including vendors focused on discrete aspects
                 of the healthcare payment accuracy process;
             •   fraud, waste, and abuse Claim edit and predictive analysis companies;
             •   primary Claims processors;
             •   in-house payment accuracy capabilities;
             •   Medicare RACs; and
             •   Healthcare consulting firms and other third-party liability service providers.

         We may not be able to compete successfully against existing or new competitors. In
         addition, we may be forced to increase the consideration we provide for assigned
         Claims or lower our pricing, or the demand for our data-driven solutions may
         decrease as a result of increased competition. Further, a failure to be responsive to
         our existing and potential Assignors’ needs could hinder our ability to maintain or
         expand our Assignor base, hire and retain new employees, pursue new business
         opportunities, complete future acquisitions and operate our business effectively. Any
         inability to compete effectively could have a material adverse effect on our business,
         financial condition and results of operations.

         (Emphasis added).

         135.    This statement was materially false and misleading because, at the time it was

  made, the Company could not afford to pay increased consideration for assigned claims. By the

  time that statement was made, the Company had even resorted to delaying its filing of annual

  and quarterly reports with the SEC to then use its purported inability to file as an excuse to not

  pay assignors of claims. Further, it had already failed to be responsive to the needs of Cano




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  Health, a major existing assignor, leading to Cano suing it mere weeks after this statement was

  issued.

            136.   The statements contained in ¶¶ 34, 36, 38, 40, 42, 44, 46, 48, 50, 52, 54, 56, 58-

  60, 62, 64, 66, 68, 70, 72, 74, 76, 78, 80, 82-83, 87, 89, 91, 93, 95, 97, 99, 101, 103, 105, 107,

  108, 110, 112, 114-15, 117-18, 120, 122, 124, 126, 128, 130, 132, and 134 were materially false

  and/or misleading because they misrepresented and failed to disclose the following adverse facts

  pertaining to the Company’s business, operations and prospects, which were known to

  Defendants or recklessly disregarded by them. Specifically, Defendants made false and/or

  misleading statements and/or failed to disclose that: (1); MSP Recovery did not disclose that it

  was under active investigation by the SEC and federal prosecutors; (2) certain financial

  information given to investors by MSP Recovery was materially false and misleading; (3) MSP

  Recovery did not fully disclose the extent of its issues when it admitted that its financial results

  would need to be restated; (4) MSP Recovery was unable to afford the assigned claims on which

  it depends, and defrauded a major healthcare provider that sold or assigned it its claims, (5) The

  Registration Statement contained various false or misleading statements and was negligently

  prepared; (6) The Proxy contained false or misleading statements; and (7) as a result,

  Defendants’ statements about its business, operations, and prospects, were materially false and

  misleading and/or lacked a reasonable basis at all relevant times and/or were negligently

  prepared.

                                 THE TRUTH BEGINS TO EMERGE

            137.   On July 31, 2023, The Miami Herald released an article entitled ‘Red flags on top

  of red flags’: Problems mount for UM athletics booster John Ruiz”, about Defendant Ruiz. The

  article stated, in pertinent part:



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        Even by Miami standards, John H. Ruiz has been living large.

        He doesn’t buy just one waterfront mansion. He buys seven.

        He doesn’t just buy a 20-seat private plane. He buys a private Boeing passenger jet.

        And he doesn’t stop at buying fancy speed boats. He buys the companies that
        make them.
        The brash attorney and entrepreneur has also become known as the sugar daddy
        of the University of Miami athletic program, making headlines for his company’s
        sponsorship of star players and bold proposals to build the university a new
        football stadium.

        But the high living might soon be coming to an end.

        The Miami Herald has learned that Ruiz and his health insurance claims
        company LifeWallet — previously known as MSP Recovery — are the target of
        federal civil and criminal investigations. The ongoing federal probes mark an
        unprecedented level of trouble for the one-time TV host whose business practices
        and out-sized lifestyle evoke comparisons to Donald Trump.

        His teetering enterprise is built on a Coral Gables company that seeks to recover
        money paid by Medicare-affiliated insurance companies that should have been
        paid by a different insurance carrier.

        LifeWallet was once valued at more than $32 billion, but the company is now
        worth a small fraction of that. Its stock, which was worth more than $10 a share
        right before the company went public through a special purpose acquisition
        company, or SPAC, merger last year now trades for less than a quarter. Ruiz and
        the company are also facing several lawsuits claiming that they owe millions of
        dollars to the sellers of businesses they acquired.

        Ruiz has weathered trouble before — he was given a public reprimand by the
        Florida Bar in 2011 over a legal dispute — and his Coral Gables home, an office
        building he owned and even his boat were all the subject of foreclosure actions a
        decade ago.

        But his current problems are more serious.

        Ruiz and LifeWallet are the target of investigations by the U.S. Securities and
        Exchange Commission and the U.S. Attorney’s Office for the Southern District of
        Florida.

        The SEC declined to officially comment on whether it is investigating Ruiz’s
        company. But the regulatory agency indicated that MSP Recovery, doing business
        as LifeWallet, is currently under federal investigation in response to a Freedom of

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        Information Act request from the Miami Herald. The SEC said it could not turn
        over records requested by the Herald because they had been “compiled for law
        enforcement purposes” and could “reasonably be expected to interfere with
        enforcement activities.” Sources familiar with the probe say SEC investigators
        are looking at what Ruiz’s company represented to investors about its value and
        other possible securities violations.

        The Herald has also learned that multiple witnesses have been interviewed
        about Ruiz and his company by the U.S. Attorney’s Office in Miami. The
        investigation, led by FBI and IRS agents, is looking at financial representations
        made to investors and spending practices, according to sources. All three
        agencies declined to comment.

                                            *   *       *
        CASH CONCERNS

        It can sometimes be hard to distinguish spending by Ruiz and his health-claims
        company.

        Take the example of private jets.

        A month before LifeWallet went public in 2022, Ruiz invited Miami reporters to
        tour his new private jet, a Boeing 767 that had once ferried passengers for the
        Australian airline Qantas.

        The refurbished interior now included a theater, bedroom and shower, conference
        room, dining room and two lounges with couches that converted to beds,
        according to the Miami New Times.

        A company called MSP Recovery Aviation, LLC registered the plane with the
        Federal Aviation Administration a month before MSP Recovery announced that it
        would go public the following year. But Ruiz said that he is, in fact, the owner of
        the planes. LifeWallet pays Ruiz’s company for use of the planes, according to
        the Company’s financial filings.

        MSP Recovery Aviation, LLC first [bought] two private jets in 2018 and
        currently owns three planes, including the Boeing jet, and a helicopter. Ruiz said
        that his company is currently trying to sell the Boeing plane and the helicopter.

        Ruiz’s spending spree in recent years has been all the more striking given his
        financial condition not long ago.

        He had been facing foreclosure on a Coral Gables home and his boat and lost an
        office building. He and his then-wife Mayra were subject to a 2014 tax lien from
        the Internal Revenue Services for nearly $30,000 in unpaid federal taxes from
        2011 and 2013. And his ill-fated attempt to turn an old baseball stadium in

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         Homestead into a youth sports mecca failed publicly. Ruiz’s company wound up
         being evicted from the stadium, on the losing end of a lawsuit against the city and
         the subject of embarrassing stories about the shoddy living conditions of
         Venezuelan teenagers who had been living in the stadium through a baseball
         training program leasing space from Ruiz’s company.

         Even as his spending surged, Ruiz seemed to regularly find himself in need of
         more cash.

         While he and his connected companies appeared to pay for most of the properties
         up-front with cash, he subsequently wound up using many of the properties as
         collateral for more than $80 million in loans taken out in 2021 and 2022,
         according to Miami-Dade property records. The most recent homes he sold in the
         Gables Estates went for millions less than he had initially asked for them — with
         one selling for two-thirds the original asking price. Ruiz told the Herald he “often
         acquires real estate through all- cash purchases and occasionally uses the equity in
         one property to obtain financing for the purchase of other properties.”

         In the wake of LifeWallet’s decline, numerous business owners have come
         forward saying they are owed millions by the company and Ruiz.

         Ruiz agreed to buy Titusville, Florida boat manufacturer Vectorworks for $35
         million in cash in late 2021, but to date has paid only $15 million, according to a
         lawsuit that is ongoing. Ruiz said he was persuaded to buy the company under
         “materially false pretenses.”

         And Norberto Menendez, the founder of the company that gave Ruiz’s health-
         claims company its name, LifeWallet, said in a lawsuit that he is owed $12.5
         million.

         In text messages from August 2022 produced in the suit, Ruiz indicates that the
         amount was to be paid in a pre-set amount of company stock that was worth less
         at that point and is practically worthless now.

         “The market is down but will adjust at some point,” Ruiz wrote in August 2022,
         arguing that Menendez should accept shares as payment. “Again the only reason
         we are discussing this is bc the stock market is down.”

         Menendez insists it was to be cash or a cash-equivalent. Ruiz denies all the
         allegations in the lawsuit and the case is ongoing.

         (Emphasis added.)

         138.    On this news, the price of MSP Recovery stock fell $0.0127 per share, or 5.89%,

  to close at $0.2028 on July 31, 2023.

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         139.    Then, on August 1, 2023, after hours, the Company filed with the SEC a current

  report on Form 8-K which confirmed the Miami Herald’s allegation that the Company was

  under investigation. It stated:

         On August 11, 2022, the Securities and Exchange Commission (the "SEC") initiated an
         investigation of the Company, and requested documents relating to, among other
         matters, the business combination transaction with Lionheart Acquisition Corporation II
         consummated on May 23, 2022 and related matters. The Company received a subpoena
         dated March 1, 2023 from the SEC regarding the aforementioned subject matter, and
         subsequently received a subpoena on May 10, 2023 requesting documents in
         connection with the Company's financial statements for the periods ended June 30,
         2022 and September 30, 2022 that required restatements as disclosed in the
         Company’s Form 8-K filed with the SEC on April 14, 2023.

         In addition, on March 10, 2023, the Company received a subpoena from the U.S.
         Attorney’s Office in connection with a grand jury investigation in the U.S. District Court
         for the Southern District of Florida requesting certain information concerning the
         Company. To the best of the Company’s knowledge, the Department of Justice has not
         issued any target letters to anyone associated with the Company as a result of this
         investigation. (The United States Attorney's Manual states that a "target" is a person as
         to whom the prosecutor or the grand jury has substantial evidence linking him or her to
         the commission of a crime and who, in the judgment of the prosecutor, is a putative
         defendant.)

         The Company has cooperated, and will continue to cooperate, fully with these inquiries.
         In connection with its review of the matters related to the preparation and filing of the
         Company's Annual Report on Form 10-K for the year ended December 31, 2022, a
         special committee of the Company's board of directors, along with external advisors
         retained thereby, also reviewed the subject matter of information requests related to the
         foregoing subpoenas. Based on this review, the Company believes that these
         investigations will be resolved without any material developments; however, there can
         be no assurance as to the outcome or future direction thereof.

         (Emphasis added).

         140.    On this news, the price of MSP Recovery stock fell $0.025 per share, or 12.19%,

  to close at $0.18 on August 2, 2023.

         141.    Then, on August 10, 2023, after market hours, Cano sued the Company, related

  entities, as well as Defendant Ruiz in Florida state court, seeking nearly $67 million.




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         142.    In the lawsuit itself, Cano alleged that the Company “is a sham. MSP Recovery

  has never been able to secure any meaningful revenue from the claims it has aggregated.

  Instead, it used the face value of those claims to prop up an absurdly over-inflated valuation,

  and that leveraged false valuation to (i) fraudulently induce business partners to give up

  valuable assets in return for worthless shares and rights to future shares in MSP Recovery, and

  (ii) support windfall salaries and perks for its executive officers, including many self-interested

  transactions with its own founder and CEO, Defendant John Ruiz.”

         143.    Further, Cano alleged the following:

                  Between 2021 and 2022, before this fraud came to light, Defendants fraudulently
         induced Cano Health to assign them claims with a face value of as much as several
         billion dollars. Cano Health did so in reliance upon fraudulent, unrealized promises by
         Defendants that they would pay Cano Health consideration of at least $66.75 million in
         the form of either cash or an issuance of securities. Defendants specifically represented
         that if they used securities to pay their debts to Cano Health--which of course they did
         because, unbeknownst to Cano Health, Defendants’ business was generating no
         income—then they would take all necessary steps to ensure those securities were
         registered within ten business days of issuance, and furthermore to make “true up”
         payments in cash or additional shares to Cano Health if those securities failed to
         maintain their market value.

                 But the deadlines for payment and registration have come and gone, and
         Defendants have materially breached their obligations to Cano Health by either (i)
         failing to attempt payment at all, or otherwise (ii) failing to register the securities issued
         to Cano Health, meaning Cano Health has given up a fortune in potential claims and
         received nothing in return but worthless, unsellable shares in a sham company.
         Unsurprisingly, recent news reporting has disclosed that Defendants are the subject of
         criminal and civil investigations by (i) the U.S. Attorney’s Office for the Southern
         District of Florida, (ii) the Federal Bureau of Investigation, (iii) the Securities and
         Exchange Commission, and (iv) the Internal Revenue Service, and Defendants are also
         the defendants in numerous private lawsuits seeking to recover for unpaid debts and
         other misconduct.
         (Emphasis in original)

         144.    In particular, the lawsuit alleged that MSP Recovery has failed to timely file

  documents with the SEC, including its 2022 Annual Report, in order to conceal that the

  Company is a fraud. Further, the lawsuit revealed that MSP Recovery has used its failure to file

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  the 2022 Annual Report as an excuse to not fulfill its contractual obligations to pay Cano for the

  claims that Cano assigned to MSP Recovery. The complaint stated in pertinent part:

         On June 29, 2023 and July 7, 2023, MSP Recovery issued a combined 200,000,001
         shares of stock to Cano Health, as the first of several steps necessary to satisfy its
         payment obligations under the Claims Agreement and Purchase Agreement. A public
         filing memorializing these issuances of shares is attached [. . .].

         Under the relevant terms of the Claims Agreement and Purchase Agreement, Defendants
         were then required to “ensure that [MSP Recovery makes all appropriate filings to
         register the LIFW Shares” by no later than June 30, 2023, as to the shares issued for
         the Assigned Past Claims, and July 21, 2023, as to all others. See Claims Agreement
         (UNDER SEAL) §§ 3.1-3.3; First Claims Amendment (UNDER SEAL) § 1; Second
         Claims Amendment (UNDER SEAL) § 1; Purchase Agreement §§ 1.1a; First Purchase
         Amendment §1.

         But MSP Recovery did not register the shares issued to Cano Health by those deadlines.
         Instead, MSP Recovery sent a letter to Cano Health on July 21, 2023, explaining that
         because MSP Recovery sill had not filed its Form 10-K for the year 2022, nor other
         periodic reports that were overdue, it was unable to register the shares. A Copy of this
         letter is attached hereto as Exhibit 13.

         MSP Recovery therefore admitted that [d]efendants had materially breached their
         contractual obligations to “ensure that [MSP Recovery] makes all appropriate filings to
         register the LIFW Shares” by no later than June 30, 2023, and July 21, 2023.

         MSP Recovery’s failure to make timely filings with the SEC also constituted a material
         breach of Defendants’ contractual obligations to use “commercially reasonable best
         efforts to cause the [necessary] filings to become effective, and the shares to become
         fully registered, unrestricted, and freely tradeable, as soon as possible.” To state the
         obvious, a commercially reasonable entity would file its mandatory periodic reports with
         the SEC—especially its first ever annual report—in a timely fashion, and certainly not
         miss the deadline to do so by more than three months.

         (Emphasis in original).

         145.    Exhibit 13 to Cano’s complaint contained a July 21, 2023 letter from Alexandra

  Plasencia, General Counsel of MSP Recovery, which was addressed to Cano Health LLC. It

  confirmed that MSP Recovery has used its repeated failure to file its 2022 Annual 10-K as an

  excuse to not pay Cano. It stated, in pertinent part:




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                   I am writing to provide an update regarding the registration status of shares we
           recently issued to Cano Health, LLC. On July 7, 2023, [MSP] issued 199,000,001 Class
           A common shares (the “Issued Shares”) of the Company pursuant to the: (i) Claims
           Recovery and Assignment Agreement dated January 19, 2021, as amended; and (ii)
           Purchase Agreement dated September 30, 2022, as amended (collectively, the
           “Agreements”), in satisfaction of payment obligations[.]

                   The Agreements state that the Company will ensure all appropriate filings to
           register the Issued Shares are made within ten business days of issuance and use
           commercially reasonable best efforts to cause such filings to become effective, and the
           shares to become fully registered, unrestricted, and freely tradeable, as soon as possible.

                   As you are aware, the Company has not yet filed its 2022 Form 10-K and Q1-
           2023 Form 10-Q. These periodic reports must be filed with the SEC before the
           Company can initially file a resale registration statement covering the Issued Shares.
           We are working diligently to finalize and file our periodic reports. Once our periodic
           reporting is current, we will file a Form S-1 Registration Statement to register the resale
           of the Issued Shares and use commercially reasonable best efforts to cause the
           registration to become effective. We will keep you apprised of any developments.

           (Emphasis added).

           146.   On this news, the price of MSP recovery stock fell by $0.0271 cents per share, or

  18.42%, to close at $0.12 on August 11, 2023.

           147.   On August 17, 2023, after the market closed, the Company filed with the SEC its
  quarterly report on Form 10-Q for the period ended March 31, 2023 (the “1Q23 Report”).
  Attached to the 1Q23 Report were certifications pursuant to SOX signed by defendants Ruiz
  and Rivera attesting to the accuracy of financial reporting, the disclosure of any material
  changes to the Company’s internal control over financial reporting, and the disclosure of all
  fraud.
           148.   The 1Q23 Report disclosed the following:
           On August 16, 2023, the Company received an additional subpoena from the SEC
           regarding certain funding sources of the Company prior to the Business Combination, as
           well as various statements and disclosures by the Company in connection with and
           following the Business Combination. The Company intends to fully cooperate with such
           subpoena, as it has with the aforementioned investigations.

           149.   Also on August 17, 2023, the Company filed with the SEC a Current Report on

  Form 8-K in which it disclosed that it had received a notification letter from Nasdaq’s Listing

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  Qualifications Department, which stated that the Company wasn’t in compliance with Nasdaq’s

  Rule 5250(c)(1) as a result of not having timely filed its Form 10-Q for the period ended June

  30, 2023.

         150.    On this news, the price of the Company’s stock fell by 0.0031, or 2.67%, to close

  at $0.1129 on August 18, 2023. The next day, the stock fell a further $0.0186, or 16.47%, to

  close at $0.0943 on August 19, 2023.

         151.    As a result of Defendants’ wrongful acts and omissions, and the precipitous

  decline in the market value of the Company’s common shares, Plaintiff and other Class

  members have suffered significant losses and damages.

                        PLAINTIFF’S CLASS ACTION ALLEGATIONS

         152.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil
  Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who: (1) purchased or
  otherwise acquired the publicly traded securities of the Company during the Class Period; (2) all
  persons or entities who held common stock of Lionheart on May 18, 2022 eligible to vote at
  Lionheart’s May 18, 2022 special meeting and were damaged upon the revelation of the alleged
  corrective disclosure, or (3) purchased MSP securities pursuant and/or traceable to the
  Registration Statement (the “Class”). Excluded from the Class are Defendants herein, the
  officers and directors of the Company, at all relevant times, members of their immediate
  families and their legal representatives, heirs, successors or assigns and any entity in which
  Defendants have or had a controlling interest.
         153.    The members of the Class are so numerous that joinder of all members is

  impracticable. Throughout the Class Period, MSP Recovery securities were actively traded on

  NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and

  can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds,

  if not thousands of members in the proposed Class.


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         154.    Plaintiff’s claims are typical of the claims of the members of the Class as all

  members of the Class are similarly affected by defendants’ wrongful conduct in violation of

  federal law that is complained of herein.

         155.    Plaintiff will fairly and adequately protect the interests of the members of the

  Class and has retained counsel competent and experienced in class and securities litigation.

  Plaintiff has no interests antagonistic to or in conflict with those of the Class.

         156.    Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. Among the

  questions of law and fact common to the Class are:

         •       whether the Securities Act or the Exchange Act was violated by Defendants’ acts

                 as alleged herein;

         •       whether statements made by Defendants to the investing public during the Class

                 Period misrepresented material facts about the business and financial condition

                 of MSP Recovery;

         •       whether Defendants’ public statements to the investing public during the Class

                 Period omitted material facts necessary to make the statements made, in light of

                 the circumstances under which they were made, not misleading;

         •       whether the Defendants caused MSP Recovery to issue false and misleading

                 filings during the Class Period;

         •       whether Defendants acted knowingly or recklessly in issuing false filings;

         •       whether the Registration Statement contained false or misleading statements of

                 material fact and omitted material information required to be stated therein;




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          •         whether the prices of MSP Recovery securities during the Class Period were

                    artificially inflated because of the Defendants’ conduct complained of herein;

                    and

          •         whether the members of the Class have sustained damages and, if so, what is the

                    proper measure of damages.

          157.      A class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

  the damages suffered by individual Class members may be relatively small, the expense and

  burden of individual litigation make it impossible for members of the Class to individually

  redress the wrongs done to them. There will be no difficulty in the management of this action as

  a class action.

          158.      Plaintiff will rely, in part, upon the presumption of reliance established by the

  fraud-on-the-market doctrine in that:

          •         MSP Recovery shares met the requirements for listing, and were listed and

                    actively traded on NASDAQ, an efficient market;

          •         As a public issuer, MSP Recovery filed periodic public reports;

          •         MSP Recovery regularly communicated with public investors via established

                    market communication mechanisms, including through the regular dissemination

                    of press releases via major newswire services and through other wide-ranging

                    public disclosures, such as communications with the financial press and other

                    similar reporting services;

          •         MSP Recovery’s securities were liquid and traded with moderate to heavy

                    volume during the Class Period; and


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           •       MSP Recovery was followed by a number of securities analysts employed by

                   major brokerage firms who wrote reports that were widely distributed and

                   publicly available.

           159.    Based on the foregoing, the market for MSP Recovery securities promptly

  digested current information regarding MSP Recovery from all publicly available sources and

  reflected such information in the prices of the shares, and Plaintiff and the members of the Class

  are entitled to a presumption of reliance upon the integrity of the market.

           160.    Alternatively, Plaintiff and the members of the Class are entitled to the

  presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

  of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material information in

  their Class Period statements in violation of a duty to disclose such information as detailed

  above.

                                               COUNT I
               For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                      Against the 10(b) Defendants
           161.    Plaintiff repeats and realleges each and every allegation contained above as if

  fully set forth herein.

           162.    This Count is asserted against Defendants is based upon Section 10(b) of the

  Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

           163.     During the Class Period, Defendants, individually and in concert, directly or

  indirectly, disseminated or approved the false statements specified above, which they knew or

  deliberately disregarded were misleading in that they contained misrepresentations and failed to

  disclose material facts necessary in order to make the statements made, in light of the

  circumstances under which they were made, not misleading.

           164.    Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

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                 •       employed devices, schemes and artifices to defraud;

                 •       made untrue statements of material facts or omitted to state material facts

                         necessary in order to make the statements made, in light of the

                         circumstances under which they were made, not misleading; or

                 •       engaged in acts, practices and a course of business that operated as a fraud

                         or deceit upon plaintiff and others similarly situated in connection with

                         their purchases of MSP Recovery securities during the Class Period.

         165.    Defendants acted with scienter in that they knew that the public documents and

  statements issued or disseminated in the name of MSP Recovery were materially false and

  misleading; knew that such statements or documents would be issued or disseminated to the

  investing public; and knowingly and substantially participated, or acquiesced in the issuance or

  dissemination of such statements or documents as primary violations of the securities laws.

  These defendants by virtue of their receipt of information reflecting the true facts of MSP

  Recovery, their control over, and/or receipt and/or modification of MSP Recovery’s allegedly

  materially misleading statements, and/or their associations with the Company which made them

  privy to confidential proprietary information concerning MSP Recovery, participated in the

  fraudulent scheme alleged herein.

         166.     The 10(b) Defendants, who are the senior officers and/or directors of the

  Company, had actual knowledge of the material omissions and/or the falsity of the material

  statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

  or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

  disclose the true facts in the statements made by them or other MSP Recovery personnel to

  members of the investing public, including Plaintiff and the Class.


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          167.    As a result of the foregoing, the market price of MSP Recovery securities was

  artificially inflated during the Class Period. In ignorance of the falsity of Defendants’

  statements, Plaintiff and the other members of the Class relied on the statements described

  above and/or the integrity of the market price of MSP Recovery securities during the Class

  Period in purchasing MSP Recovery securities at prices that were artificially inflated as a result

  of Defendants’ false and misleading statements.

          168.    Had Plaintiff and the other members of the Class been aware that the market

  price of MSP Recovery securities had been artificially and falsely inflated by Defendants’

  misleading statements and by the material adverse information which Defendants did not

  disclose, they would not have purchased MSP Recovery securities at the artificially inflated

  prices that they did, or at all.

          169.     As a result of the wrongful conduct alleged herein, Plaintiff and other members

  of the Class have suffered damages in an amount to be established at trial.

          170.    By reason of the foregoing, Defendants have violated Section 10(b) of the 1934

  Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the other members

  of the Class for substantial damages which they suffered in connection with their purchase of

  MSP Recovery securities during the Class Period.

                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
          Against the 10(b) Defendants RE: Violations of Section 10(b) And Rule 10b-5
          171.    Plaintiff repeats and realleges each and every allegation contained in the

  foregoing paragraphs as if fully set forth herein.

          172.    During the Class Period, the Individual Defendants participated in the operation

  and management of MSP Recovery, and conducted and participated, directly and indirectly, in



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  the conduct of MSP Recovery’s business affairs. Because of their senior positions, they knew

  the adverse non-public information about MSP Recovery’s false financial statements.

         173.    As officers and/or directors of a publicly owned company, the Individual

  Defendants had a duty to disseminate accurate and truthful information with respect to MSP

  Recovery’s financial condition and results of operations, and to correct promptly any public

  statements issued by MSP Recovery which had become materially false or misleading.

         174.     Because of their positions of control and authority as senior officers, the

  Individual Defendants were able to, and did, control the contents of the various reports, press

  releases and public filings which MSP Recovery disseminated in the marketplace during the

  Class Period concerning MSP Recovery’s results of operations. Throughout the Class Period,

  the Individual Defendants exercised their power and authority to cause MSP Recovery to

  engage in the wrongful acts complained of herein. The Individual Defendants therefore, were

  “controlling persons” of MSP Recovery within the meaning of Section 20(a) of the Exchange

  Act. In this capacity, they participated in the unlawful conduct alleged which artificially inflated

  the market price of MSP Recovery securities.

         175.    By reason of the above conduct, the Individual Defendants are liable pursuant to

  Section 20(a) of the Exchange Act for the violations committed by MSP Recovery.

                                               COUNT III
                     Violation of Section 14(a) of the Exchange Act and Rule 14a-9
                                    Against The Director Defendants

         176.    Plaintiff incorporates by reference and realleges each and every allegation
  contained above as though fully set forth herein, except any allegation of fraud, recklessness, or
  intentional misconduct.




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         177.    This Count does not sound in fraud. Plaintiff does not allege that the Director
  Defendants had scienter or fraudulent intent with respect to this Count as they are not elements
  of a Section 14(a) claim.
         178.    SEC Rule 14a-9, 17 C.F.R. § 240.14a-9, promulgated pursuant to Section 14(a)
  of the Exchange Act, provides:
         No solicitation subject to this regulation shall be made by means of any proxy statement,
         form of proxy, notice of meeting or other communication, written or oral, containing any
         statement which, at the time and in the light of the circumstances under which it is made,
         is false or misleading with respect to any material fact, or which omits to state any
         material fact necessary in order to make the statements therein not false or misleading or
         necessary to correct any statement in any earlier communication with respect to the
         solicitation of a proxy for the same meeting or subject matter which has become false or
         misleading.

         179.    The Director Defendants prepared and disseminated the false and misleading
  Proxy specified above, which failed to disclose material facts necessary in order to make the
  statements made, in light of the circumstances under which they were made, not misleading in
  violation of Section 14(a) of the Exchange Act and Rule 14a-9 promulgated thereunder.
         180.    By virtue of their positions within Lionheart and their due diligence regarding the
  Merger, the Director Defendants were aware of this information and of their duty to disclose
  this information in the Proxy. The Proxy was prepared, reviewed, and/or disseminated by the
  Defendants named herein. The Proxy misrepresented and/or omitted material facts, as detailed
  above. Defendants were at least negligent in filing the Proxy with these materially false and
  misleading statements.
         181.    As stated herein, the Proxy contained untrue statements of material fact and
  omitted to state material facts necessary to make the statements made not misleading in
  violation of Section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.
  The Proxy was an essential link in the consummation of the Merger. The Director Defendants
  also failed to correct the Proxy prior to the Merger and the failure to update and correct false
  statements is also a violation of Section 14(a) of the Exchange Act and SEC Rule 14a-9
  promulgated thereunder.



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         182.    As a direct result of the Director Defendants’ negligent preparation, review and
  dissemination of the false and/or misleading Proxy, Plaintiff and the Class were precluded from
  exercising their right to seek redemption of their Lionheart shares prior to the Merger on a fully
  informed basis and were induced to vote their shares and accept inadequate consideration in
  connection with the Merger. The false and misleading Proxy used to obtain shareholder
  approval of the Merger deprived Plaintiff and the Class of their right to a fully informed
  shareholder vote in connection therewith and the full and fair value for their Lionheart shares.
  At all times relevant to the dissemination of the materially false and/or misleading Proxy, the
  Director Defendants were aware of and/or had access to the true facts concerning the true value
  of Legacy MSP, which was far below the operational assets that shareholders received. Thus, as
  a direct and proximate result of the dissemination of the false and misleading Proxy that the
  Director Defendants used to obtain shareholder approval of and thereby consummate the
  Merger, Plaintiff and the Class have suffered damages and actual economic losses in an amount
  to be determined at trial.
         183.    The omissions and false and misleading statements in the Proxy were material in
  that a reasonable stockholder would have considered them important in deciding how to vote on
  the Merger. In addition, a reasonable investor would view a full and accurate disclosure as
  significantly altering the “total mix” of information made available in the Proxy and in other
  information reasonably available to stockholders.
         184.    By reason of the foregoing, Defendants have violated Section 14(a) of the
  Exchange Act and Rule 14a-9(a) promulgated thereunder.
                                            COUNT IV
                      Violation of Section 20(a) of the Exchange Act of 1934
                                 Against the Director Defendants
         185.    Plaintiff incorporates and repeats each and every allegation contained in the
  foregoing paragraphs as if fully set forth herein.
         186.    The Director Defendants acted as controlling persons of Lionheart within the
  meaning of Section 20(a) of the Exchange Act, as alleged herein. By virtue of their positions as
  officers and/or directors of Lionheart, and participation in, and/or awareness of Lionheart’s


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  operations, and/or intimate knowledge of the Proxy filed with the SEC, they had the power to
  influence and control, and did influence and control, directly or indirectly, the decision-making
  of Lionheart with respect to the Proxy, including the content and dissemination of the various
  statements in the Proxy that are materially false and misleading, and the omission of material
  facts specified above.
         187.    Each of the Director Defendants was provided with or had unlimited access to
  copies of the Proxy and other statements that were false and misleading prior to and/or shortly
  after these statements were issued and had the ability to prevent the issuance of the statements
  or cause the statements to be corrected.
         188.    Each of the Director Defendants had direct and supervisory involvement in the
  negotiation of the Merger, and, therefore, is presumed to have had the power to control or
  influence the particular transactions giving rise to the securities violations alleged herein, and
  exercised the same. In particular, the Proxy at issue references the unanimous recommendation
  of the Board to approve the Merger, and recommends that Lionheart stockholders vote for the
  Merger. The Director Defendants were thus involved in the making of the Proxy.
         189.    In addition, as the Proxy sets forth at length, the Director Defendants were
  involved in negotiating, reviewing, and approving the Merger. The Proxy purports to describe
  the various issues and information that the Director Defendants reviewed and considered in
  connection with such negotiation, review and approval.
         190.    By virtue of the foregoing, the Director Defendants had the ability to exercise
  control over and did control a person or persons who violated Section 14(a), by their acts and
  omissions as alleged herein. By virtue of their positions as controlling persons, these Defendants
  are liable under Section 20(a) of the Exchange Act.
         191.    Plaintiff and other Lionheart stockholders have no adequate remedy at law, and
  as a result of the Director Defendants’ violations of Section 20(a) of the Exchange Act, are
  threatened with irreparable harm by virtue of being deprived of their entitlement to cast fully
  informed votes with respect to the Merger, as more fully explained above.
                                                 COUNT V


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            Violations of Section 11 of the Securities Act Against The Section 11 Defendants
            192.   Plaintiff incorporates all the foregoing by reference.
            193.   This Count is brought pursuant to § 11 of the Securities Act, 15 U.S.C. § 77k,
  against The Section 11 Defendants.
            194.   The Registration Statement contained untrue statements of material facts, omitted
  other facts necessary to make the statements made not misleading, and omitted to state material
  facts required to be stated therein.
            195.   The Section 11 Defendants are strictly liable to Plaintiff and the Class for the
  misstatements and omissions.
            196.   None of the Section 11 Defendants named herein made a reasonable
  investigation or possessed reasonable grounds for the belief that the statements contained in the
  Registration statement were true and without omissions of any material facts and were not
  misleading.
            197.   By reason of the conduct herein alleged, each Section 11 Defendant violated or
  controlled a person who violated § 11 of the Securities Act.
            198.   Plaintiff acquired the Company’s securities pursuant to the Registration
  Statement.
            199.   At the time of their purchases of Company securities, Plaintiff and other
  members of the Class were without knowledge of the facts concerning the wrongful conduct
  alleged herein and could not have reasonably discovered those facts prior to the disclosures
  herein.
            200.   This claim is brought within one year after discovery of the untrue statements
  and/or omissions in the offering that should have been made and/or corrected through the
  exercise of reasonable diligence, and within three years of the effective date of the offering. It is
  therefore timely.
                                                   COUNT VI
            Violations of Section 15 of the Securities Act Against the Section 11 Defendants
            201.   Plaintiff incorporates all the foregoing by reference.


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          202.    This cause of action is brought pursuant to § 15 of the Securities Act, 15 U.S.C. §
  77o against the Section 11 Defendants.
          203.    The Section 11 Defendants were controlling persons of MSP Recovery by virtue
  of their positions as directors and/or senior officers. The Section 11 Defendants each had a
  series of direct and indirect business and personal relationships with other directors and officers
  and major shareholders of MSP Recovery. MSP Recovery controlled the Individual Defendants
  and all of MSP Recovery’s employees.
          204.    MSP Recovery and the Section 11 Defendants were culpable participants in the
  violations of § 11 of the Securities Act as alleged above, based on their having signed or
  authorized the signing of the Registration Statement and having otherwise participated in the
  process which allowed the offering to be successfully completed.


                                      PRAYER FOR RELIEF

          WHEREFORE, plaintiff, on behalf of himself and the Class, prays for judgment and

  relief as follows:

          (a)     declaring this action to be a proper class action, designating plaintiff as Lead

  Plaintiff and certifying plaintiff as a class representative under Rule 23 of the Federal Rules of

  Civil Procedure and designating plaintiff’s counsel as Lead Counsel;

          (b)     awarding damages in favor of plaintiff and the other Class members against all

  defendants, jointly and severally, together with interest thereon;

          awarding plaintiff and the Class reasonable costs and expenses incurred in this action,

  including counsel fees and expert fees; and

          (d)     awarding plaintiff and other members of the Class such other and further relief as

  the Court may deem just and proper.

                                    JURY TRIAL DEMANDED

          Plaintiff hereby demands a trial by jury.

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  Dated: August 23, 2023             THE ROSEN LAW FIRM, P.A.
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